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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x         Case No. 17-40104 (cec)
                                                                       :
IN RE:                                                                 :
                                                                       :
                    PRIME SIX, INC.,                                   :
                                                                       :
                                       Debtor-in-Possession. :
                                                                                 Chief Judge Carla E. Craig
                                                                       :
    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




                DEBTOR’S SECOND AMENDED DISCLOSURE STATEMENT IN
                      SUPPORT OF DEBTOR’S SECOND AMENDED
                       CHAPTER 11 PLAN OF REORGANIZATION




Dated: February 13, 2018
       New York, New York
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               EXHIBITS 1:

         1.    The Amended Plan of Reorganization

         2.    Monthly Operating Reports from the Petition Date

         3.    Senser Appraisal of the Debtor’s Used Restaurant Equipment and
               Comparable restaurant properties

         4.    Projected Sales and Earnings for 5 Years (2017 -2022)

         5.    Liquidation Analysis as of October 1, 2017

         6.    Post Confirmation Budget for 5 years

         7.    Summary of Operations from Petition Date to October 1, 2017

         8.    Estimated Cash Available to the Debtor as of Confirmation Date




         1
               Note: Exhibits were filed with the Court separately and remain unchanged.
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1.         INTRODUCTION.

         a.       Prime Six, Inc., debtor and debtor in possession (together, the “Debtor”) in the
above-captioned Chapter 11 Case filed on the Petition Date, January 11, 2017, submits this second
amended disclosure statement, as it may be amended, (the “ Disclosure Statement”) to each known
holder of a Claim or Interest in the Debtor for the purpose of soliciting acceptances of the Debtor’s
second amended Chapter 11 Plan of Reorganization dated February 13, 2018as it may be amended
(the “Plan”) 2and to enable Creditors to make an informed decision on voting on the Plan. A copy
of the Plan is attached hereto as Exhibit 1. Any capitalized terms used in the Disclosure Statement
but not defined herein shall have the meanings ascribed to them in the Plan. The Debtor strongly
urges that each recipient carefully and completely review the contents of this Disclosure Statement
and the Plan. Particular attention should be given to the provision of the Plan affecting or impairing
the rights of each holder of a Claim or Interest.

          b.       The Chapter 11 Process. Chapter 11 of the Bankruptcy Code contains numerous
provisions, the general effect of which is to provide a debtor with “breathing space” within which
to propose a restructuring of their obligations to third parties. The filing of a bankruptcy petition
creates a bankruptcy “estate” comprising all of a debtor’s property interests. Unless the Bankruptcy
Court appoints a trustee for cause, a debtor in a chapter 11 case remains in possession and control
of all its assets as a “debtor -in-possession” or “DIP.”

                i.      In a chapter 11 case, a debtor may continue to operate its business in the
                        ordinary course on a day-to-day basis without Bankruptcy Court approval.
                        Bankruptcy Court approval is only required for certain kinds of transactions,
                        such as certain financing transactions, and transactions outside of the
                        ordinary course of a debtor’s business. The filing of the bankruptcy petition
                        invokes what is known as the “automatic stay” which generally enjoins
                        creditors from taking any action to collect or recover obligations owed by a
                        debtor prior to the commencement of a chapter 11 case. The Bankruptcy
                        Court, however, can grant relief from the automatic stay under certain
                        specified conditions or for cause. The Bankruptcy Code authorizes the
                        creation of one or more official committees to protect the interests of some
                        or all creditors or interest holders. The fees and expenses of counsel and
                        other Professionals employed by a debtor and approved by the Bankruptcy
                        Court are generally borne by a bankruptcy estate. A chapter 11 debtor
                        emerges from bankruptcy by successfully confirming a plan of
                        reorganization. A plan may either be consensual or non-consensual and
                        provides, among other things, for the treatment of the claims of creditors and
                        interests of shareholders, if any.


       2
               The meanings of capitalized terms used in Plan are set forth in Section 2 thereof,
any Exhibit to the Plan or to the Disclosure Statement, the Bankruptcy Code or the Bankruptcy
Rules.
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              ii.     THE INFORMATION CONTAINED IN THIS DISCLOSURE
                      STATEMENT HAS BEEN SUBMITTED BY THE DEBTOR, UNLESS
                      SPECIFICALLY STATED TO BE FROM OTHER SOURCES. THE
                      DEBTOR HAS NOT AUTHORIZED ANY REPRESENTATIONS
                      CONCERNING IT OR ITS FINANCIAL AFFAIRS, OTHER THAN
                      THOSE SET FORTH HEREIN.

              iii.    The Plan is summarized below but all summaries are qualified by the terms
                      of the Plan itself, which are in all instances controlling.

              iv.     You may not rely upon this Disclosure Statement for any purpose other than
                      to determine how to vote on the Plan. Nothing contained in the Plan or
                      Disclosure Statement shall constitute an admission of any fact or liability by
                      any party, or be admissible in any proceeding involving the Debtor or any
                      other party.

              v.      The statements contained in this Disclosure Statement are made as of the
                      date hereof, unless another time is specified herein. Neither delivery of this
                      Disclosure Statement nor any exchange of rights made in connection with
                      the Disclosure Statement or the Plan shall under any circumstances create
                      an implication that there has been a change in the facts set forth herein after
                      the date the Disclosure Statement was prepared.

              vi.     Although the Debtor believes that the contents of this Disclosure Statement
                      are complete and accurate to the best of its knowledge, information and
                      belief, the Debtor is unable to warrant or represent that the information
                      contained herein is without any inaccuracy. THE FINANCIAL
                      INFORMATION CONTAINED HEREIN HAS NOT BEEN THE
                      SUBJECT OF A CERTIFIED AUDIT.

              vii.    After notice and a hearing held on November 1, 2017, and upon the request
                      of the Debtor, the Court, pursuant to Section 1125 of the Bankruptcy Code,
                      approved this Disclosure Statement as containing information of a kind, and
                      in sufficient detail, as far as is reasonably practicable in light of the nature
                      and history of Debtor and the condition of its books and records, that would
                      enable a hypothetical reasonable investor, typical of the Debtor’s creditors
                      and shareholders, to make an informed judgment to vote to accept or reject
                      the Plan. Approval of this Disclosure Statement by the Court does not,
                      however, constitute a recommendation by the Court to accept or reject the
                      Plan.

              viii.   Accordingly, the Debtor believes that confirmation of the Plan is in the best
                      Interests of creditors and they recommend that creditors vote to accept the
                      Plan.
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              ix.   The Bankruptcy Court’s approval of the Disclosure Statement does not
                    constitute an endorsement of the Plan, nor does it represent a guaranty of the
                    completeness or accuracy of the information set forth herein. Your vote on
                    the Plan is important. Without acceptance of the Plan, there may be
                    protracted delays, the confirmation of another plan or liquidation under
                    chapter 7 of the Bankruptcy Code. These alternatives are not likely to
                    provide as large a distribution to holders of Allowed Claims as does the
                    Plan. Accordingly, the Debtor urges you to accept the Plan by completing
                    and returning the enclosed ballot(s) no later than ____________________
                    2018 at 5:00 p.m. prevailing Eastern Time.

      c.     Disclaimers. THIS IS NOT A SOLICITATION OF ACCEPTANCE OR
REJECTION OF THE DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THIS DISCLOSURE
STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT BEEN APPROVED
BY THE COURT. THE DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY
BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THE PLAN. PLEASE READ THIS
DOCUMENT WITH CARE. THE PURPOSE OF THE DISCLOSURE STATEMENT IS TO
PROVIDE “ADEQUATE INFORMATION” OF A KIND, AND IN SUFFICIENT DETAIL, AS
FAR AS IS REASONABLY PRACTICABLE IN LIGHT OF THE NATURE AND HISTORY OF
THE DEBTOR, WHICH WOULD ENABLE A HYPOTHETICAL REASONABLE INVESTOR
TYPICAL OF HOLDERS OF CLAIMS IN EACH CLASS TO MAKE AN INFORMED
JUDGMENT ABOUT THE PLAN. SOLELY FOR CREDITORS’ CONVENIENCE, THIS
DISCLOSURE STATEMENT ONLY SUMMARIZES THE PLAN’S TERMS.

              i.    IF ANY INCONSISTENCY EXISTS BETWEEN THE PLAN AND THIS
                    DISCLOSURE STATEMENT, THE TERMS OF THE PLAN ARE
                    CONTROLLING. ALTHOUGH THE DEBTOR BELIEVES THE
                    SUMMARIES IN THE DISCLOSURE STATEMENT ARE FAIR AND
                    ACCURATE IN ALL MATERIAL RESPECTS, THE SUMMARIES ARE
                    QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN
                    ITSELF. NO REPRESENTATIONS CONCERNING THE DEBTOR’S
                    FINANCIAL CONDITION OR ANY ASPECT OF THE PLAN OTHER
                    THAN AS SET FORTH IN THE DISCLOSURE STATEMENT ARE
                    AUTHORIZED BY THE DEBTOR. YOU SHOULD NOT RELY ON ANY
                    REPRESENTATIONS OR INDUCEMENTS MADE TO SECURE YOUR
                    ACCEPTANCE THAT ARE OTHER THAN AS CONTAINED IN OR
                    INCLUDED WITH THIS DISCLOSURE STATEMENT. EXCEPT AS
                    OTHERWISE NOTED, ALL FACTUAL INFORMATION CONTAINED
                    IN THE DISCLOSURE STATEMENT HAS BEEN PROVIDED BY THE
                    DEBTOR AND IS TRUE AND CORRECT BASED ON ITS REVIEW OF
                    ITS BOOKS AND RECORDS AND TO THE BEST OF ITS
                    KNOWLEDGE, INFORMATION AND BELIEF.
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                  ii.   THE DEBTOR CANNOT AND DOES NOT WARRANT, HOWEVER,
                        THAT THE FINANCIAL AND OTHER INFORMATION IS TRUE AND
                        CORRECT IN ALL MATERIAL RESPECTS. THE CONTENTS OF THE
                        DISCLOSURE STATEMENT SHOULD NOT BE CONSTRUED AS
                        LEGAL OR BUSINESS ADVICE. EACH CREDITOR SHOULD
                        CONSULT ITS OWN LEGAL COUNSEL AND ACCOUNTANT AS TO
                        LEGAL OR OTHER MATTERS CONCERNING ITS CLAIM.

2.           HISTORY OF THE DEBTOR AND THE CHAPTER 11 CASE.

        a.       Description of the Debtor and History of Debtor’s Business. The Debtor is a
corporation formed under the laws of the State of New York which operates a restaurant bar and grill
d/b/a “Woodlands” at its sole, leased Premises located at 242 Flatbush Avenue, Brooklyn, NY
11217. The Premises is a nonresidential retail space leased from Fang Realty, LLC, from April 16,
2010, until “April 31" (sic), 2025. Beginning in December, 2014, the Debtor began substantial
renovations to its rented raw space and in 2015 began doing business in its renovated Premises. The
Lease permits the Debtor to operate its Business.

          b.      Management of the Debtor Before and During the Chapter 11 Case. The sole
insider of the Debtor as defined by § 101(31) of the Bankruptcy Code is Akiva Ofshtein. The
Debtor’s sole Equity Interest Holder, Akiva Ofshtein, Esq. (the “Stockholder”) is also a practicing
attorney and at the same time, is principal of several other businesses. Mr. Ofshtein had hired an
apparently well qualified manager to conduct day to day affairs under his supervision. However, as
it turned out, neither the first nor any of subsequent replacement managers were truly knowledgeable
and capable of conducting the Debtor’s day to day operations on an efficient and profitable basis.
Their poor management of the Debtor’s finances, expenses and oversight, led to accumulated Tax
debts, defaults in the Debtor’s payments to its landlord and accumulating debts to vendors. During
the two years prior to the date on which the bankruptcy petition was filed, and during the pendency
of the Debtor’s chapter 11 case, Mr. Ofshtein was the sole officer and director of the Debtor. Various
managers were employed by the Debtor for the two years prior to the filing of the petition. The
Debtor’s used restaurant equipment would provide little compensation to creditors in the event of
a liquidation. See Exhibit 5. The only real value the Debtor has is its continued operation as funded
by the Stockholder so that it can generate profits to pay its Secured, Priority and other Creditors.

         c.     Debtor’s Sole Insider. Mr. Ofshtein has been the principal officer, director and
Stockholder of the Debtor during the pendency of this Chapter 11 case or during the two years prior
to the commencement of the Debtor’s bankruptcy case.

        d.      Prior Chapter 11 Case. The Debtor filed a prior chapter 11 case, Number 15-42234
on May 20, 2015 which was dismissed on October 27, 2016. However, the Debtor failed to assume
the Lease during the Prior Chapter 11 Case and it was therefore deemed rejected as a matter of law.

         e.    The Debtor Began Business as a Startup. In 2012, after a two-year build-out and
of refurbishment of raw space at the Premises, the Debtor began business operations. The Debtor has
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completely improved the Premises’s ground floor, and basement with garage and backyard. The
Restaurant currently employs approximately 26 full and part-time employees, most of which we have
employed from inception years and is the primary source of income for virtually all of them.

         f.      Debtor’s Performance. In 2016, the Restaurant generated revenues of more than
$2,310,046.00 and is running better than that in 2017. See Exhibit 7. Moreover while the slowest
part of its seasonal business is January through March, the Debtor has already seen an upturn to
profitability beginning in April of 2017 as has been shown on its Monthly Operating Reports,
although most of such profits were directed to paying its Landlord all rent arrearages owed at least
$225,000.00. See Exhibit 2: the Debtors 2017 Monthly Operating Reports.

         g.       Events Leading to Current Chapter 11 Filing. The Debtor’s filing for relief under
Chapter 11 of the Bankruptcy Code was brought about by a several causes. The Debtor’s Business
is operating its restaurant, bar and grille through hired managers. Unfortunately, the prior managerial
staff was unable to profitably and accurately operate the business notwithstanding its generation of
substantial revenues.

         h.      The Debtor’s Rejected Lease and Rent Arrears. Pursuant to the Bankruptcy Code,
before the Debtor’s Prior Chapter 11 Case was dismissed, the Debtor was obligated to have assumed
its Lease of the Premises; however, it failed to do so. As a matter of law, the Debtor was therefore
deemed to have abandoned its Lease. At the same time, the Debtor fell behind in payment of its
obligations, including rent owed to the Landlord while its Premises was being built and its Business
was becoming established. The amount of rent arrears owed to the Landlord was $182,712.96
(comprised of $151,365.50 in rent with the remainder being “additional rent” according to the Lease)
together with additional charges incurred since the Debtor filed its Prior Chapter 11 Case in 2015
in the amount of $43,763.56 including April 2017 rent, aggregating in all the sum of $226,676.52

         i.       History of the Debtor’s Current Chapter 11 Filing. On January 11, 2017 (the
“Petition Date”) the Debtor commenced the instant case by filing a voluntary petition for relief under
Chapter 11 of the Bankruptcy Code. The Debtor continues to operate its business and manage affairs
as a debtor-in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtor
is current in its filing of Monthly Operating Reports with its next one due by September 20, 2017.
No trustee or examiner has been appointed in this case.

         j.     NYS Sales Tax Liability. The NYSDOTF had filed a Proof of Claim against the
Debtor for Unpaid NYS Sales Taxes aggregating $424,338.87 of which $279,851.46 is Secured
$144,497.41 is Priority Tax and $29,897$107,324.54 is Unsecured and as to which Mr. Ofshtein’s
personal New York Income Tax refund of $4,766.00 has also been applied. This Claim also includes
Secured prepetition penalties in the sum of $114,901.84 which the NYSDOTF has agreed to
reclassify as Unsecured.

         k.    IRS Income Tax Liabilities. The IRS has filed a Proof of Claim against the Debtor
in the amount of $456,049.98 of which $342,076.64 is Secured and $92,201.45 is Priority and the
remaining $21,771.89 is Unsecured.
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         l.       A Summary of the Debtor’s Assets and liabilities. A Summary Schedule has
been filed with the Bankruptcy Court. On the Petition Date, the Debtor Scheduled $47,417.00 in
Assets and $1,456,131.28 in total liabilities on its other Schedules also filed with the Court.
Those Assets consisted of the used restaurant Equipment which the Debtor believes would
generate limited proceeds from a forced liquidation sale by a chapter 7 Trustee. Senser Appraisal
Associates (“Senser”) appraised the fair market value sale of the Debtor’s Assets in its October
27, 2015 report concluding that could generate as much as $32,095.00 However, as is common
knowledge, a forced liquidation sale of used restaurant Equipment by a chapter 7 Trustee, not in
the ordinary course of business, would necessarily result in substantially less proceeds realized,
which the Debtor estimates would be less than $10,000.3 See Exhibit 3. The only real value of
the Debtor’s business resides in its continued profitable operation and growth; the Plan proposes
to use virtually all of that profit to pay Secured and Priority Creditors before a small distribution
to General Unsecured Creditors; conversely, little or no distribution would be likely in the event
of a liquidation.

3.         SIGNIFICANT EVENTS DURING THE CHAPTER 11 CASE.

         a.      Filing of Statements and Schedules. On the Petition Date, or shortly thereafter,
the Debtor filed with the Bankruptcy Court its Schedules of Assets and Liabilities and Statements
of Financial Affairs, which set forth, inter alia, pre-petition Claims against the Debtor based on
the Debtor’s books and records and the Debtor’s assets, including all of its personal property. As
set forth above, at this point, the Debtor’s Leased Premises offers no financial value for
Creditors. Each of the Claims is as numbered on the Claims Register maintained by the Clerk of
the Court. Some of the Claims were also filed on the Creditor’s Proof of Claim form claim
against the Debtor. As of the date hereof, the amount claimed by the IRS is stated on Claim No.
12. The Debtor’s only valuable assets4 as listed on the Schedules are the unaffixed furniture and
fixtures removable from the Premises and the kitchen and bar equipment (collectively, the
Equipment). See Exhibit 3.

         b.     Professionals Employed by the Debtor. On the Petition Date, the Debtor was
represented by Randall S. D. Jacobs, PLLC in the Chapter 11 Case; an order approving his
representation of the Debtor was entered on the docket [No. 30] on March 30, 2017. On the same
date, the Debtor’s application to retain its pre-Petition accounting firm of Denis L. Abramowitz,
CPA , PLLC to provide accounting services in the Chapter 11 Case was also approved [Docket



       3
               If the Debtor otherwise could sell the Assets outside of chapter 11 in the ordinary
course of business, using the “market comparison” approach, the proceeds off a fair market value
sale of the Debtor’s Assets might approach the estimate.
       4
              On September 19, 2017, the Court approved the Debtor’s Motion to Assume the
Lease although prior to that date, it could not be considered and asset of the Estate in light of the
Debtor’s “deemed rejection” thereof by the Debtor’s Prior Chapter 11 Case.
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No. 31] due to its expertise in dealing with the NYSDOTF sales Taxes and IRS Tax claims in
addition to its extensive experience as Chapter 11 accountant to restaurants.

         c.      Tax Claims filed by the NYSDOTF. The Debtor has retained accountants,
Abramowitz CPA, PLLC, with expertise in NYSDOTF Taxation and audits to review the
determination of the amount of unpaid Taxes claimed owed to the NYSDOTF by the Debtor on a
pre-Petition Claim basis. The NYSDOTF has filed Proofs of Claim in the amount of $424,338.87
of which $279,851.46 is Secured $144,497.41 is Priority Tax and $29,897.54 is Unsecured. This
represents the largest single Proof of Claim filed against the Debtor. However, the NYSDOTF
has agreed to treat the penalty portion of $114,901.84 as Unsecured.

         d.      Tax Claims filed by the IRS. The Debtor also tasked it Accountants,
Abramowitz CPA, PLLC, to review the determination of the amount stated in the Proof of Claim
for income Taxes claimed owed the IRS on a pre-Petition Claim basis. The IRS filed a Proof of
Claim in the amount of $456,049.98 of which $342,076.64 is Secured and $92,201.45 is
Priority and the remaining $21,771.89 is Unsecured.

         e.      Claims Process and Bar Date. In a Chapter 11 case, pre-petition claims against
a debtor are generally established either as a result of being listed in the debtor’s schedules of
assets and liabilities as not being contingent, unliquidated or disputed or through assertion by the
creditor in a timely filed proof of claim. Claims asserted by creditors are then Either Allowed or
Disallowed. If Allowed, a Claim will be recognized and treated pursuant to the Plan. If
disallowed, the Creditor will have no right to obtain any recovery on or to otherwise enforce the
Claim against the Debtor.

        f.      Bar Dates for Filing Proofs of Claim. By its order dated February 13, 2017, the
Bankruptcy Court granted the Debtor’s Motion dated March 6, 2017 [Docket No. 19] setting
March 20, 2017 as the Bar Date, the deadline for filing Proofs of Claim with the Bankruptcy
Court for any non-governmental pre-petition Claims against the Debtor. A deadline to file
Administrative Claims against the Debtor will be established under the Plan. The Bankruptcy
Court directed the Debtor to submit Motions by November 10, 2017 setting (i) a Supplemental
Bar date with respect to those Creditors whose Claims were added by the Debtor’s Amended
Schedules filed in October, 2017 and (ii) an Administrative Bar Date for Administrative Claims.

         g.       The Debtor’s Payment of Prepetition Rent and Assumption of the Lease.
Upon the Landlord’s Motion returnable April 4, 2017 seeking to lift the automatic stay, and force
the Debtor to surrender its Premises, etc., the parties subsequently negotiated and entered into a
stipulation dated April 4, 2017 (the “Stipulation”) permitting the Debtor Cure its prior default
and rejection of the Lease and move to assume the Lease by payment of approximately $225,000
in rent arrears to the Landlord by August, 2017 (of which more than $106,000 was contributed
directly by the Stockholder.) The Debtor made all of the Stipulated payments to the Landlord due
as of August 2017 and on September 19, 2017 the Court approved its Motion to Assume the
Lease. The Debtor believes that many of the improvements to the Premises it renovated are
considered “fixtures” and the proporty of the Landlord. As such, the Debtor’s principal asset
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value is not in its used Equipment, but in its continued profitable operation which will generate
the profits with which to pay its Creditors over time.

          h.      Filed Claims and the Claims Objections Process. The Debtor has preliminarily
reviewed filed Claims. Prior to Confirmation the Debtor anticipates that it will object to Claims
that are lacking in legal or factual merit, including those that (i) assert improper secured or
priority status; (ii) are asserted in amounts in excess of the amounts actually owed; (iii) do not
allege an enforceable legal obligation of any of the Debtor; (iv) include post-petition interest and
other disallowable charges; or (v) are otherwise objectionable, such as duplicate claims, etc.

         i.     After Confirmation. Objections to Claims will be made by the Debtor, who will
also continue any objections to Claims commenced prior to Confirmation. For the purposes of
this Disclosure Statement, the Debtor has estimated what it believes the liability will be to the
Holders of Claims in each Class. However, the actual aggregate amount of Allowed Claims in
any Class may ultimately differ significantly from the Debtor’s estimates. Any variance from
those estimates will affect projected distributions potentially resulting in a materially higher or
lower distribution than currently projected.

4.           DESCRIPTION OF THE PLAN.

          a.     Plan Overview. The Debtor believes the principal value of its business lies in its
ability to generate profits and to grow its sales, rather than liquidation of its used restaurant
Equipment or the attempted sale of its Lease in current market conditions. (See Exhibit 3). The
Debtor has researched comparable restaurant locations in Brooklyn (copies attached to Exhibit
3) currently on the market and concluded that the Lease, if it could be sold or assigned, would
generate little value to the Debtor or its creditors. Accordingly, the Plan provides for the
Stockholder’s Cash Contribution of a minimum of $60,000 ($10,000 for the value of the
Debtor’s used equipment and an estimated $50,000 minimum to pay towards the final Approved
Fees of the Debtor’s Professionals) together with the Stockholder’s waiver of his annual salary
for five years ($375,000) in exchange for his retention of his Equity Interest (in addition to
having contributed more than $106,000 to the Debtor this year to enable the Debtor to assume its
Lease). The net Cash remaining from the sale of inventory is estimated at $2,000. In addition, the
Stockholder has agreed to advance approximately $60,000 to the Debtor (approximately $10,000
per month ) to provide Cash for proposed Plan payments during those few seasonal months when
the Debtor’s profits have been historically insufficient. Upon reconciliation of outstanding
Claims against the estate by the Debtor and its Professionals, the Reorganized Debtor will make
Distributions to Allowed Creditors under the Plan in accordance with the rule of absolute
priorities and the Bankruptcy Code. The Plan categorizes the Claims against the Debtor into
distinct Classes. In accordance with the Bankruptcy Code, Administrative Claims are not
classified. The Plan also provides that expenses incurred by the Debtor during the Chapter 11
Case will be paid in full (or as may otherwise be agreed by all parties) and specifies the manner
in which holders of Allowed Claims in each Class will be treated. If there is any discrepancy
between this description of the Plan’s treatment of Creditors and that set forth in the Plan, the
terms of the Plan are controlling.
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      b.  THE PRINCIPAL PROVISIONS OF THE PLAN AS THEY RELATE TO
THE TREATMENT OF CLASSES OF ALLOWED CLAIMS ARE SUMMARIZED
BELOW. THE DISCUSSION OF THE PLAN THAT FOLLOWS CONSTITUTES A
SUMMARY ONLY AND SHOULD NOT BE RELIED UPON FOR VOTING PURPOSES.
YOU ARE URGED TO READ THE PLAN IN FULL IN EVALUATING WHETHER TO
ACCEPT OR REJECT THE PLAN. IF ANY INCONSISTENCY EXISTS BETWEEN
THIS SUMMARY AND THE PLAN, THE TERMS OF THE PLAN CONTROL. ALL
CAPITALIZED TERMS NOT OTHERWISE DEFINED HAVE THE MEANINGS
ASCRIBED TO THEM IN THE PLAN.

      c.  THE PRINCIPAL PROVISIONS OF THE PLAN AS THEY RELATE TO
THE TREATMENT OF CLASSES OF ALLOWED CLAIMS ARE SUMMARIZED
BELOW. THE DISCUSSION OF THE PLAN THAT FOLLOWS CONSTITUTES A
SUMMARY ONLY AND SHOULD NOT BE RELIED UPON FOR VOTING PURPOSES.
YOU ARE URGED TO READ THE PLAN IN FULL IN EVALUATING WHETHER TO
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THIS SUMMARY AND THE PLAN, THE TERMS OF THE PLAN CONTROL. ALL
CAPITALIZED TERMS NOT OTHERWISE DEFINED HAVE THE MEANINGS
ASCRIBED TO THEM IN THE PLAN.

5.           DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS.

         a.      The Classes of Claims and Interests under the Plan. Unclassified Claims are
excluded from the following Classes in accordance with Bankruptcy Code § 1123 (a)(1). A
Claim or Interest is classified in a particular Class only to the extent that the Claim or Interest
qualifies within the description of that Class and is classified in a different Class to the extent
that any remainder of the Claim or Interest qualifies within the description of such different
Class. A Claim or Interest is in a particular Class only to the extent that the Claim or Interest is
an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or otherwise
satisfied before the Effective Date or such other date as determined by the Debtor in its sole
discretion.

         b.       Impaired Claims or Classes. Under section 1124 of the Bankruptcy Code, a
class of claims or interests is “impaired” unless the plan (1) does not alter the legal, equitable, or
contractual rights of the holders or (2) irrespective of the holders’ acceleration rights, the plan
cures all defaults (other than those arising from the debtor’s insolvency, the commencement of
the case, or nonperformance of a non-monetary obligation), reinstates the maturity of the claims
or interests in the class, compensates the Holders for actual damages incurred as a result of their
reasonable reliance upon any acceleration rights, and does not otherwise alter their legal,
equitable, or contractual rights.

        c.      Unclassified Administrative Claims. These Claims have not been classified and
are excluded from the following Classes in accordance with Bankruptcy Code §1123(a)(1). Costs
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and expenses of administration as defined in the Bankruptcy Code and as provided in Section
507(a)(2) of the Bankruptcy Code, applications for which are filed prior to the Effective Date as
the same are Allowed, approved and ordered paid by the Bankruptcy Court, including Claims for
fees and expenses by the Debtor’s Professionals.

6.           SUMMARY OF CLASSIFICATIONS.

        a.       Bankruptcy Code § 1123(a)(1). In accordance with Bankruptcy Code §
1123(a)(1) all type of Claims and Equity Interests are placed in the Classes described in the table
below for all purposes, including voting on, confirmation of, and distributions under, this Plan.

             CLASS            DESCRIPTION                          TREATMENT VOTING/NON
             Class 1(a):      Secured IRS Tax Claims               Unimpaired   Non-voting.
             Class 1(b):      Secured NYSDOTF Sales Tax            Unimpaired   Non-voting.
             Class 1(c):      Secured NYC Admin. Trial             Unimpaired   Non-voting.
             Class 1(d):      Fang Realty Secured Claim            Unimpaired   Non-voting

             Class 2(a):      Priority IRS Tax Claim               Unimpaired             Non-voting
             Class 2(b):      Priority NYSDOTF Sales Tax           Unimpaired             Non-voting
             Class 2(c):      Priority NYC/NYS Tax Claims          Unimpaired             Non-voting

             Class 3          General Unsecured Claims             Impaired               Voting

             Class 4:         Equity Interests                     Unimpaired             Non-voting

        b.      Secured Claims - Taxes. Secured Claims for unpaid Taxes pursuant to Section
507(a)(8) of the Bankruptcy Code, as the same are Allowed, approved or ordered paid by the
Bankruptcy Court pursuant to the Bankruptcy Code.

                       i.     Class 1(a): Allowed Secured Claims of the IRS pursuant to Claim No.
                              12 in the amount of $342,076.64Class 1 is Unimpaired.

                       ii.    Class 1(b): Allowed Secured claims of NYSDOTF pursuant to Claim
                              No. 1 stating $279,851.46 as a Secured Tax Claim. The Debtor has
                              agreed with NYSDOTF that $114,901.84 of the NYSDOTF Secured
                              Claim representing prepetition penalties should be reclassified as
                              Unsecured, commensurately reducing the NYSDOTF Secured Claim.
                              Class 1 is Unimpaired.

                       iii.   Class 1(c): Allowed Other Secured Claims. Secured Claim No. 8 for
                              $17,192.85 was filed by the NYC Office of Administrative Trials and
                              Hearings for prepetition unemployment contributions. If any other such
                              Secured Claims, as such Claims existed on the date of the Petition in this
                              case, as finally Allowed and approved by the Bankruptcy Court, and to

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                         the extent that such Claims are not greater than the value of the Debtor’s
                         assets which the Bankruptcy Court finds are valid security for such debts.
                         The Debtor does not believe that there are any such claims in this Class.

                iv.      Class 1(d): Allowed Secured Claims. Class 1(d) consists only of the
                         Allowed Secured Claim of Fang Realty, Inc. (Claim No. 11, which the
                         Debtor has paid pursuant to Court Order). Class 1 is unimpaired.

         c.     Priority Claims -Taxes. Claims entitled to Priority which are Taxes and which
are afforded a priority pursuant to Section 507(a)(8) of the Bankruptcy Code, as the same are
Allowed, approved or ordered paid by the Bankruptcy Court pursuant to the Bankruptcy Code.

              i.      Class 2(a): IRS Priority Tax Claim. The IRS filed a Proof of Claim stating
                      the amount of $92,201.45 as a Priority Tax Claim. Class 2 is unimpaired.

              ii.     Class 2(b): NYSDOTF has filed a Proof of Claim stating $144,497.41
                      claimed as Priority Taxes. Class 2 is unimpaired.

              iii. Class 2(c): Allowed Other Priority Claims. The NYS Department of Labor,
                   Unemployment Insurance Division, filed an Amended Proof of Claim (No. 3)
                   asserting Priority Tax Claim for $76,025.15 in addition to a Claim of
                   $16,752. Class 2 is unimpaired.

      d.      Other Priority - Wages, Post-Petition Trade Payables and All Other Non-Tax
Claims, if any: Claims other than those of Professionals entitled to priority by Section 507 of the
Bankruptcy Code, as the same are Allowed, approved or ordered paid by the Court.

        e.    Unsecured Claims: General

              i.      Class 3: Allowed General Unsecured Claims (Without Priority). Allowed
                      Unsecured Claims. Class 3 consists of Claims not cured, paid, released, or
                      waived pursuant to the Plan, assumed by the Debtor pursuant to the Plan or
                      agreements incorporated in the Plan, or classified in any other Class of
                      Claims, including, without limitation, (i) Claims for goods sold and services
                      rendered, (ii) Claims for monies lent or deposited, (iii) Claims based upon
                      guarantees of performance or payment of the obligations or duties of any
                      Person, (iv) Claims for contribution, reimbursement or indemnity, (v) Claims
                      for fines, penalties, or assessments, (vi) Claims for tort liability, (vii) Claims
                      arising from the rejection of executory contracts and unexpired leases and
                      (viii) and all Allowed Claims against the Debtor arising from any or related
                      to any Interest in the Debtor, all Section 510(b) Claims with respect to such
                      Interests. The Debtor believes that viable general Unsecured Claims
                      aggregate $848,167.79 primarily owed to general Unsecured trade vendors


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                   and the to the IRS and NYSDOTF for the Unsecured portions of their
                   respective Claims. Class 3 is impaired.

      f.      Equity Interests: Common Stock. Class 4 consists of the Claim of the sole
Stockholder for 100% of the Debtor’s Common Stock.

7.      TREATMENT OF CLAIMS AND INTERESTS.

       a.      Unclassified Claims. Unclassified Claims, which include Claims of the kind
specified in Section 507(a)(2) (Administrative Expense Claims), Section 507(a)(8) of the
Bankruptcy Code (Certain Taxes) and Priority non-Tax claims under Section 507 of the
Bankruptcy Code, if any.

              i.   Generally. Subject to certain provisions contained in the Plan, and unless
                   any Holder thereof agrees or has agreed to different or less favorable
                   treatment, each Holder of an Allowed Administrative Claim that has not been
                   satisfied during the Case will receive, on account of and in full satisfaction of
                   such Allowed Administrative Claim, Cash equal to the allowed amount of
                   such Claim on the latest of (i) the First Distribution Date, (ii) if disputed (or,
                   in the case of an Administrative Claim owing to a Professional, not yet
                   Allowed), as soon as practicable after entry of a Final Order Allowing the
                   Administrative Claim, and (iii) the date on which the distribution to the
                   holder of the Allowed Administrative Claim would have been due and
                   payable in the ordinary course of business or under the terms of any
                   agreement giving rise to the Allowed Administrative Claim.

       b.       Procedures for Administrative Claims Not Allowed as of the Effective Date.
Notwithstanding any other provisions of the Plan, no payments or distributions will be made on
account of Administrative Claims and Priority Tax Claims until such Claim becomes an Allowed
Claim pursuant to Final Order, or unless an order of the Bankruptcy Court provides otherwise.
The Confirmation Order shall specifically provide that each Administrative Expense Claimant,
including Claimants seeking allowance of Professional Fees and Expenses, that fails to timely
and duly file a request for payment of its Administrative Claim by the Administrative Bar Date
shall have its Claim expunged and shall thereafter be forever barred from asserting any such
Administrative Claim.

       c.     Administrative Expense Claims of Professionals. Subject to the agreement of
each Holder of an Allowed Administrative Claim, such Holder shall receive (a) Cash payment
from the Debtor based on the Allowed Amount of their Administrative Claims and applied to the
balance of such Holder’s Allowed Administrative Claim.

              i.   After the Effective Date, the Reorganized Debtor shall bear the costs of any
                   additional or other legal services and related expenses specifically requested
                   of any of the Debtor’s Professionals or otherwise required of them by law.
                   Professional fees can be paid only after the Bankruptcy Court has granted a
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                   specific allowance of fees and expenses upon each Professional’s application.
                   Not later than sixty (60) days after the Effective Date, Professional Persons
                   shall file applications for compensation for fees and expenses owed from the
                   Filing Date through the Confirmation Date; if they have already filed
                   applications for Professional Fees and Expenses through an earlier date, then
                   not later than sixty (60) days after the Effective Date, they shall file final
                   applications for services rendered through the Confirmation Date.

       d.      Except as otherwise provided in Section 2 of the Plan, or by the consent of such
Person, each Person holding an Allowed Administrative Expense Claim as of the Confirmation
Date shall be paid in full in Cash on the Effective Date unless they agree to accept other terms
with the Debtor. In addition the Reorganized Debtor shall remain liable for payment in full of any
unpaid but Court approved Professional Fees and Expenses set forth above and such additional
Fees and Expenses incurred after the Effective Date.

       e.      Fees of the United States Trustee. The Debtor shall pay all United States Trustee
quarterly fees under 28 U.S.C. § 1930(a)(6), plus interest due and payable under 31 U.S.C. §
3717 on all disbursements, including Plan payments and disbursements in and outside the
ordinary course of the Debtor’s business, until the entry of a Final Order, dismissal of the
Chapter 11 Case or conversion of the Chapter 11 Case to a case under chapter 7 of the
Bankruptcy Code. Additionally, the Debtor shall file quarterly Post Confirmation Reports and
schedule quarterly post-confirmation status conferences with the Court.

       f.       Unimpaired Claims Cannot Vote. Allowed Administrative, Priority Tax, Priority
Non-Tax Claims and Secured Tax Claims are not impaired under the Plan, and thus such holders
are not permitted to vote to accept or reject the Plan, since such holders are deemed to have voted
in favor of the Plan pursuant to Section 1126(f) of the Bankruptcy Code. The Plan leaves
unaltered the legal, equitable and contractual rights of holders of these Allowed Claims.

       g.      Allowed Class 4: Interests. Holders of Class 4 Interests. On the Effective Date all
Class 4 Interests shall continue to be held by the sole Stockholder and remain unaltered.

        h.    Treatment of Allowed Secured and/or Priority Claims.

              i.   Allowed Class 1 Secured Claims. Each Holder of each Allowed Class 1
                   Secured Claim shall be treated by payment of cash in full satisfaction of such
                   Allowed Claim, including statutory interest, upon Confirmation in
                   accordance with the provisions of Bankruptcy Code §1129(b)(2)(A)(i) or (iii)
                   unless otherwise agreed with such Holder. The IRS and NYSDOTF have
                   agreed that their respective Class 1 Secured Tax Claims shall be paid in full
                   by the Debtor over 96 equal monthly payments of Cash (i) beginning as soon
                   as is practicable but no later than 30 days after the Effective Date, (the “First
                   Distribution Date”) in full satisfaction of such Claims. Subject to the
                   approval of the Bankruptcy Court, the Debtor has agreed to make monthly

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                   distributions on account of the IRS and NYSDOTF Secured and Priority Tax
                   Claims, rather than quarterly payments, together with statutory interest as to
                   the IRS’s secured and Priority Tax Claims.

             ii.   Allowed Class 2 Priority Tax Claims. Each Holder of each Allowed Class 2
                   Claim shall be treated by payment of cash in full satisfaction of such Allowed
                   Claim, upon Confirmation, including statutory interest, in accordance with
                   the provisions of Bankruptcy Code §1129(b)(2)(A)(i) or (iii) unless otherwise
                   agreed with such Holder. The IRS and NYSDOTF have agreed that their
                   respective Priority Tax Claims shall be paid by the Debtor over 96 equal
                   monthly payments of Cash (i) beginning on or as soon as is practicable but no
                   later than 30 days after the Effective Date, (the “First Distribution Date”)
                   together with agreed interest (no-post petition interest for the IRS’s Priority
                   Tax Claim), in full satisfaction of such Claims. The Debtor has agreed that
                   the Debtor make monthly distributions to the IRS Secured and Priority Tax
                   Claim rather than quarterly payments, subject to the approval of the
                   Bankruptcy Court.

             iii. Only upon full payment of the Secured and Priority Tax Claims held by the
                  IRS and NYSDOTF shall those Taxing Authorities issue releases of their
                  respective liens against the Debtor’s property and shall record such releases
                  with the appropriate New York State governmental entity.

        i.   Impaired Unsecured Claims.

             i.    Allowed Unsecured Class 3: is Impaired and the Holders of Claims, if any,
                   are entitled to vote on the Plan.

             ii.   Class 3 is Impaired and the Holders of such Claims are entitled to vote on the
                   Plan. Except to the extent that a Holder of an Allowed Class 3 Claim has
                   been paid prior to the Distribution Date or agrees to a different treatment, the
                   Debtor calculates it will pay an aggregate of approximately
                   $27$29,510.63005.50 to satisfy all of the Allowed Class 3 Claims which the
                   Debtor intends to pay Cash in an amount equal to the a pro rata share of the
                   profits earned annually on each (i) starting on the Effective Date or as soon as
                   practicable after the later of (a) the First Distribution Date or (b) on the date
                   the Claim becomes an Allowed General Unsecured Claim (ii) in five equal
                   annual payments of approximately $5,502801.1309 over a period ending not
                   later than five (5) years on the anniversary of the First Distribution Date
                   together with interest at the federal funds rate of interest on the Effective
                   Date unless the creditor shall agree to different treatment with the Debtor. All
                   payments shall be applied first to principle and thereafter to interest, directly
                   to such Allowed Holders from its earned profits from continued operations
                   after payment of Secured and Priority quarterly Tax distributions.

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               iii. If a Class 3 General Unsecured Disputed and Unliquidated Claim is not an
                    Allowed Claim on a Distribution Date, the Holder of that Claim will receive
                    its Distribution as soon as practicable after the Claim becomes an Allowed
                    Claim.

               iv. Taxes “on or measured by income or gross receipts” as defined in detail by
                   statute.

               v.   Unsecured property Taxes assessed prior to the bankruptcy but last payable
                    without penalty less than one year prior to the filing of the petition.

               vi. “A Tax required to be collected or withheld and for which the debtor is liable
                   in whatever capacity.”

               vii. Certain employment Taxes as defined in detail by statute.

               viii. Certain excise Taxes as defined in detail by statute.

               ix. Certain customs duties as defined in detail by statute.

               x.   Except as otherwise stated in the Plan or any order of the Court, treatment of
                    the and the Administrative Claims Priority Tax Claims held by the
                    NYSDOTF shall be treated similarly by being paid in full as are the
                    NYSDOTF Secured Tax Claims.

               xi. Upon full payment of the Secured Tax Claims, the NYSDOTF shall release
                   its lien against the Debtor’s property and shall record such release with the
                   appropriate New York State governmental entity.

               xii. No Holder of an Allowed Class General Unsecured Claim shall receive
                    interest on its Allowed Claim. Distributions to Holders of Allowed
                    Unsecured Claims shall be made from net profits after Priority and Secured
                    Claims are paid quarterly Plan distributions.

       j.       Except as otherwise stated in the Plan or any order of the Court, the IRS,
NYSDOTF, and NYC (collectively, the “Taxing Authorities”) all Class 1 Secured Tax Claims
shall be treated similarly to all Class 2 Priority Tax Claims and paid in full over the 96 months
following the First Distribution Date, as set forth in detail in the Plan.

       k.       Except to the extent that the Holder of a Secured or Priority Tax Claim has been
paid prior to the Effective Date, agrees to a different treatment, or is treated in a different manner
under the Plan, the Taxing Authorities holding Secured or Priority Tax Claims shall receive from
the Debtor 96 equal monthly payments of Cash aggregating approximately $12$14,121.24024.80
including 4% statutory interest as to the IRS and agreed 8% interest as to the NYSDOTF and

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NYC, (i) beginning on or as soon as is practicable but no later than 30 days after the Effective
Date, (the First Distribution Date) in full satisfaction of such Claims.

        l.      All Distributions to or on account of the Taxing Authorities Claims shall be in full
satisfaction, settlement, release and discharge of, and in exchange for the NYSDOTF and IRS
Claims.

       m.       All Distributions to or on account of the NYSDOTF and IRS Claims shall be
applied (i) first, to the NYSDOTF Administrative Claim, if any, (ii) second, to the Class 1
respective Secured Tax Claims and (iii) third, to the Class 2 Priority Claims.

       n.      All Distributions to or on account of the Taxing Authorities’ Claims shall first be
applied to principal and thereafter to interest.

       o.     Interest shall accrue on account of the NYSDOTF Claims at the rate of eight
percent (8%) and as to the IRS Claim, under Section 511(b) of the Bankruptcy Code and Internal
Revenue Code Section 6621 at four percent (4%) beginning on the Effective Date.

      p.     Prepayment of all or any part of the amounts due on account of the Claims of the
Taxing Authorities shall be permitted.

        q.      Any and all such prepayments shall be applied first to principle and thereafter to
interest to interest.

      r.     Distributions to Holders of the NYSDOTF Sales Tax and IRS Claims shall be
made by the Debtor.

       s.      It shall be an event of default if the Debtor fails to make any payment to the
Holder of any Allowed NYSDOTF Sales Tax, IRS Tax and NYC Tax Claims as provided in the
Plan. Distributions to Holders of the IRS, NYSDOTF and City of New York Tax Claims other
than the First Distribution Date or monthly [if authorized by the Court] Distributions thereafter
shall be made by the Debtor.

        t.      In the event of any such default under this Plan, the Allowed Holders of the IRS,
NYSDOTF and NYC Tax Claims shall provide written notice to the Debtor and its counsel. Such
notice shall, at a minimum (a) identify the nature of the default, (b) state the amount of the
default, if any, (c) notify the Debtor of the last date upon which such default can be cured and (d)
notify the Debtor that if such default is not cured, the Holders of the IRS, NYSDOTF and NYC
Tax Claims may take action under appropriate non-bankruptcy law.

         u.    Upon receipt of such written notice of default, the Debtor shall have a period of
thirty (30) days from receipt of such notice to cure such default and during such thirty (30) days,
the Holders of the NYSDOTF, IRS and NYC Tax Claims shall take no action against the Debtor.
If such default is cured by the Debtor on or within said thirty (30) day period, then the Plan shall
continue in full force and effect as if no default had occurred.
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8.     PLAN SUMMARY TABLES.

        a.       The following is a summary of the material provisions of the Plan and is qualified
in its entirety by reference to the full text of the Plan and the definitions therein, a copy of which
is attached hereto as Exhibit 1. As of August 31, 2017, the Debtor’s records reflect little or no
unpaid Administrative Claims, an aggregate of $630,120.95 of Secured Tax Claims, $329,466.03
of Priority Tax Claims, and $847,214.58$580,109.99 5 of General Unsecured Claims timely filed
by the Bar Date. The Scheduled Secured Claim for prepetition rent arrears filed by the Landlord
has been paid in full pursuant to the Court’s Order. Some of the Claims listed on the Schedules
may be duplicative of the filed Claims and some Tax Claims may include uncollectible
prepetition penalties; the Debtor has not yet fully reconciled those filed Claims with the
Scheduled Claims.

        b.      The following tables briefly summarize the treatment of Classes of Claims under
the Plan. Amounts listed below are estimated. Actual Claims and distributions will vary
depending upon the outcome of objections to Claims and the outcome of the review of the
Debtor’s New York State Sales Tax and IRS Tax Claims by the Debtor’s Accountant. Pursuant
to the rule of absolute priority, such Allowed Tax Claims may have Priority against Non-priority
General Unsecured Claims to a majority of the Debtor’s assets. However, the converse is also
true: a review may result in a substantial decrease in the amount of Secured Taxes owed to the
State of New York and the IRS which will commensurately reduce the Debtor’s payments
thereof but may increase its Unsecured debt. In either event, the Debtor has agreed to repay the
NYSDOTF and the IRS pursuant to the terms and conditions of the Code; or any superseding
Agreement with the such creditors. At the same time, the Debtor reserves, at all times, the right
to object or dispute the Tax amount and seek correction and/or adjustment of the Tax debt
directly with the Taxing authority, through the Court or any other forum lawfully available to
resolve any such disputes. Accordingly, the Secured and Priority Claims of the IRS (including
IRS penalties), and the Secured and Priority Claims of the NYSDOTF (excluding penalties
reclassified as Unsecured) pursuant to the Plan, the Debtor will pay 96 equal monthly payments
to the Taxing Authorities of $12$14,121.24024.80 including applicable 4% statutory interest as
to the IRS, and 8% agreed interest as to the NYSDOTF, in addition to annual payment for five
years in the amount of $5,502801.1309 aggregating $27$29,510005.6555, unless such
Unsecured Creditors opt for a one-time payment of 2% or $11,004602.2618

      c.      (These Class tables are only a summary of the classification and treatment of
Claims under the Plan. The dollar estimates contained in this chart are as of September 1, 2017.
Reference should be made to other sections of this Disclosure Statement and the Plan for a
complete description of the classification and treatment of Claims.)




       5
              Including Penalties which the NYSDOTF has agreed with the Debtor to reclassify
as Unsecured in the sum of $77,427.06.
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UNCLASSIFIED                               AMOUNT
Designation:                                   Unknown               ADMINISTRATIVE and
                                            $50,000 (Est.)      PROFESSIONAL FEE CLAIMS
Status:                                                                     UNIMPAIRED
Voting Rights:                                                              NON-VOTING
Plan Treatment of Allowed Claims:

        d.     Administrative expenses are paid currently by the Debtor. The Debtor’s unpaid
Professional fees as of Confirmation are currently estimated to be at least $50,000. To the extent
that the Court approves Professional fees, the Debtor has agreed to pay such approved fees for
the Debtor’s with any balance paid no later than 60 days after approval by the Court. Except as
otherwise stated in the Plan or any order of the Court, allowed Administrative Claims held by the
NYSDOTF or the IRS, if any, shall be shall be paid in full upon the Effective Date or First
Distribution Date, whichever is later, in satisfaction, settlement, release and discharge thereof.
The Holders of such Claims shall be paid Cash as soon as practicable on the date such Claim
becomes an Allowed Claim, or such other treatment to which parties may agree. Interest paid to
the IRS on any Allowed Claim shall be paid at the statutory rate.



 SECURED:                                     AMOUNT         CLAIMANT
 Class 1(a):                                $342,076.64      IRS
 Class 1(b):                                $279,851.46 6    NYSDOTF
 Class 1(c):                                 $18,142.85      NYC OFFICE OF ADMIN.
                                                             TRIALS ETC.
 Class 1(d):                                 None known      FANG REALTY, INC.
 Status:                                                     UNIMPAIRED
 Voting Rights:                                              NON-VOTING
                                                             (Deemed accepted)
 Plan Treatment of Allowed Claims:

      e.     Except as otherwise stated in the Plan or any order of the Court, the IRS Class 1(a)
Secured Tax Claims shall be treated similarly to IRS Class 1(b) Priority Tax Claims held by the
IRS.

      f.      Except to the extent that the Holder of the IRS Secured or Priority Tax Claim has
been paid prior to the Effective Date, agrees to a different treatment, or is treated in a different
manner under the Plan, the Holder of the IRS Secured or Priority Tax Claim shall receive from
the Debtor 96 equal monthly payments of Cash in the amount of approximately


       6
              The NYSDOTF Secured Tax Claim was reduced by reclassification of penalties to
Unsecured thereby reducing its Allowed Secured Claim to $279,851.46
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$12$14,121.24024.80 including interest (i) on or as soon as is practicable but no later than 30
days after the Effective Date, (the First Distribution Date) and (ii) similar payments each month
after the Effective Date of the Plan for 95 following consecutive months in full satisfaction of
such Claims.

        g.      All Distributions to or on account of the NYSDOTF and IRS Claims shall be in
full satisfaction, settlement, release and discharge of, and in exchange for the NYSDOTF and
IRS Claims.

         h.       All Distributions to or on account the NYSDOTF and IRS Claims shall be applied
(i) first, to the NYSDOTF Administrative Claim, (ii) second, to the IRS and NYSDOTF Secured
Claims, and (iii) third, to the Priority Tax Claims.

       i.      All Distributions to or on account of the NYSDOTF and IRS Claims shall first be
applied to principle and thereafter to interest.

        j.      Interest shall accrue on account of the NYSDOTF and IRS Claims at the rate
applicable under Section 511(b) of the Bankruptcy Code on the Effective Date, which as to the
IRS, is the statutory rate.

      k.      Prepayment of all or any part of the amounts due on account of the NYSDOTF
Claims shall be permitted.

        l.      Any and all such prepayments shall be applied first to principle and thereafter to
interest to interest.

        m.     Deleted.

        n.     Deleted.

      o.      It shall be an event of default if the Debtor fails to make any payment to the
Holder of the Allowed NYSDOTF Sales Tax and IRS Secured Claims as provided in the Plan.

        p.      In the event of any such default under this Plan, the Allowed Holders of the IRS
Secured and NYSDOTF Claims shall provide written notice to the Debtor and its counsel. Such
notice shall, at a minimum (a) identify the nature of the default, (b) state the amount of the
default, if any, (c) notify the Debtor of the last date upon which such default can be cured and (d)
notify the Debtor that if such default is not cured, the Holders of the IRS Secured and NYSDOTF
Claims may take action under appropriate non-bankruptcy law.

        q.     Upon receipt of such written notice of default, the Debtor shall have a period of
thirty (30) days from receipt of such notice to cure such default and during such thirty (30) days,
the Holders of the NYSDOTF and IRS Claims shall take no action against the Debtor. If such


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default is cured by the Debtor on or within said thirty (30) day period, then the Plan shall
continue in full force and effect as if no default had occurred.



 CLASS 2: PRIORITY TAXES                       AMOUNT         CLAIMANT
 Class 2(a):                                   $92,201.45     IRS
 Class 2(b):                                  $144,725.35     NYSDOTF
 Class 2(c):                                   $16,752.12     NYC DEP’T. FINANCE
                                               $76,025.05     NYS DEP’T. LABOR
 Status:                                                      UNIMPAIRED
 Voting Rights:                                               NON-VOTING
                                                              (Deemed Accepted)
 Plan Treatment of Allowed Claims:

        r.      Except to the extent that a Holder of an Allowed Class 2(a), 2(b) or 2(c) Priority
Tax has been paid prior to the First Distribution Date or agrees to a different treatment, on or as
soon as is practicable after the First Distribution Date, each Holder of an Allowed Class 2
Priority Tax Claim shall receive, from the Debtor, Cash in an amount equal to the Amount of its
Allowed Priority Tax Claim or, at the sole and exclusive option of the Debtor (i) on the Effective
Date or as soon as practicable after the later of (a) the Effective Date or the First Distribution
Date or (b) the date the Claim becomes an Allowed Priority Tax Claim, (ii) 96 equal monthly
payments, beginning on the First Distribution Date and continuing over a period ending not later
than eight (8) years thereafter until paid, together with interest at the agreed rate of eight percent
(8%) per annum with respect to the NYSDOTF and the Federal Funds rate of 4% with respect to
the IRS, or (iii) as may be otherwise agreed between the Debtor (or either of them, or a third
party) and the Holder of each Allowed Priority Tax Claim, if any.

        s.     It shall be an event of default under the Plan if the Debtor (x) fails to make any
payment to the Holder of an Allowed Class 2 Priority Tax Claim as provided in the Plan, (y) if
the Debtor fails to pay any post-confirmation Tax liabilities owing to the Holder of the Class 2
Priority Tax Claim or (z) if the Debtor fails to file post-confirmation Tax returns by the due date
of the return or of any extension of time permitted under title 26, U.S. Code.

         t.     In the event of any such default under this Plan, the Holder of the Class 2 Allowed
Priority Tax Claim shall provide written notice to the Debtor and its counsel. Such notice shall,
at a minimum (a) identify the nature of the default, (b) state the amount of the default, if any, (c)
notify the Debtor of the last date upon which such default can be cured and (d) notify the Debtor
that in the event of such default, the Holder of a Class 2 Allowed Priority Tax Claim may collect
any unpaid liabilities through the administrative collection provisions of the Internal Revenue
owing to it without further order of the Court through the administrative collection provisions of
the title 26, U.S. Code.

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        u.     Upon receipt of such written notice of default, the Debtor shall have a period of
thirty (30) days from receipt of such notice to cure such default and during such thirty (30) days,
the Holder of a Class 2 Allowed Priority Tax Claim shall take no action against the Debtor. If
such default is cured by the Debtor on or within said thirty (30) day period, then the Plan shall
continue in full force and effect as if no default had occurred.

       v.     If the Debtor fails to cure such default on or within said thirty (30) day period,
then the Holder of a Class 2 Allowed Priority Tax Claim may collect any unpaid liabilities
through the administrative collection provisions of the Internal Revenue Code to permit the
Holder of a Class 1(a) Allowed Secured Tax Claim to collect any unpaid Taxes.

       w.       Except as may be otherwise agreed between the Debtor and Holders of such
Claims (including Unsecured Claims of the Taxing Authorities and the NYSDOTF
resulting from reclassification of its Secured prepetition penalties), the Holder of
an Allowed Class 3 Claim (the “Class 3 Claims”) will receive on or as soon as is
practicable after the Effective Date, from the Debtor, pro rata, to each Holder of an
Allowed General Unsecured Claim, Cash in an amount equal to one percent (1%) of the Face
Amount of such Allowed Unsecured Class 3 Claim payable annually on the anniversary of the
Effective date for a total of five (5) payments of 1% ($5,502801.1309) aggregating a maximum
of 5% (or $27$29,510.65005.50), unless the Holders of such Allowed Class 3 Claim agrees in
writing to accept a pro rata share of a one-time Cash Payment equal to Two percent (2%) or
$11,004602.2618 of the Face Amount of such Allowed Unsecured Claim within 30 days of the
electing such payment in writing delivered to the Debtor in lieu thereof. Either of such Payment
options will be in full satisfaction, settlement, release and discharge of, and in exchange for the
Allowed Class 3 Claims.

       x.      Distributions to the Holder of the Allowed Class 3 Claim shall be made by the
Debtor. It shall be an event of default solely under this if the Debtor (x) fails to make any
payment to the Holder of the Class 3 Claim as agreed with such Holder, (y) fails to pay any post-
confirmation Pro Rata payment owing to the Holder of the Allowed Class 3 Claim as agreed with
such Holder, or (z) fails to file post-confirmation Tax returns by the due date of the return or of
any extension of time permitted under title 26 U.S. Code.

        y.    In the event of any such default under this Plan, the Holder of the Class 3 Allowed
Claim shall provide written notice to the Debtor and its counsel. Such notice shall, at a
minimum(a) identify the nature of the default, (b) state the amount of the default, if any, (c)
notify the Debtor of the last date upon which such default can be cured.

        z.     Upon receipt of such written notice of default, the Debtor shall have a period of
thirty (30) days from receipt of such notice to cure such default and during such thirty (30) days,
the Holder of a Class 3 Allowed Claim shall take no action against the Debtor.

       aa.     If such default is cured by the Debtor on or within said thirty (30) day period, then
the Plan shall continue in full force and effect as if no default had occurred.

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        bb.     If the Debtor fails to cure such default on or within said thirty (30) day period,
then the Holder of an Allowed Class 3 Claim may collect any unpaid liabilities from the Debtor;
in the case of such uncured default, the automatic stay of 11 USC 362(a) is lifted solely to permit
the Holder of an Allowed Class 43General Unsecured Claim to collect any unpaid Claims owing
to it without further order of the Court.

 GENERAL UNSECURED                          AMOUNT        CLAIMANT
 Class 3:                                  365364,235.    TRADE CREDITORS
                                                     09   NYSDOTF,
                                            $253$107,3    IRS Taxes and
                                            44324.79$1    other    Unsecured Claims
                                           00,148.9554
                                             $21,771.89
                                                $950.00
 Status:                                                  IMPAIRED
 Voting Rights:                                           VOTING
 Plan Treatment of Allowed Claims:

        cc.     Except as may be otherwise agreed between the Debtor and Holders of such
Claims (including Unsecured Claims of the IRS and NYSDOTF resulting from
reclassification of prepetition penalties), the Holder of an Allowed Class 3
Claims will receive on or as soon as is practicable after the First Distribution
Date, from the Debtor, pro rata, to each Holder of an Allowed General Unsecured Claim,
Cash in an amount equal to one percent (1%) of the Face Amount of such Allowed Unsecured
Class 3 Claim payable annually on the anniversary of the Effective date for a total of five (5)
payments of 1% ($5,502801.1309) aggregating a maximum of 5% (or $27,510.65) unless the
Holders of such Allowed Class 3 Claim agrees in writing delivered to the Debtor to accept a pro
rata share of a one-time Cash Payment equal to Two percent (2%) or $11,004602.2618 of the
Face Amount of such Allowed Unsecured Claim within 30 days of the First Distribution Date in
lieu thereof. Either of such Payment options will be in full satisfaction, settlement, release and
discharge of, and in exchange for the Allowed Class 3 Claims.

       dd.     Distributions to the Holder of the Allowed Class 3 Claim shall be made by the
Debtor. It shall be an event of default solely under this if the Debtor (x) fails to make any
payment to the Holder of the Class 3 Claim as agreed with such Holder, (y) fails to pay any post-
confirmation Pro Rata payment owing to the Holder of the Allowed Class 3 Claim as agreed with
such Holder, or (z) fails to file post-confirmation Tax returns by the due date of the return or of
any extension of time permitted under title 26 U.S. Code.

      ee.     In the event of any such default under this Plan, the Holder of the Class 3 Allowed
Claim shall provide written notice to the Debtor and its counsel. Such notice shall, at a

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minimum(a) identify the nature of the default, (b) state the amount of the default, if any, (c)
notify the Debtor of the last date upon which such default can be cured.

        ff.    Upon receipt of such written notice of default, the Debtor shall have a period of
thirty (30) days from receipt of such notice to cure such default and during such thirty (30) days,
the Holder of a Class 3 Allowed Claim shall take no action against the Debtor.

       gg.     If such default is cured by the Debtor on or within said thirty (30) day period, then
the Plan shall continue in full force and effect as if no default had occurred.

        hh.     If the Debtor fails to cure such default on or within said thirty (30) day period,
then the Holder of an Allowed Class 3 Claim may collect any unpaid liabilities from the Debtor;
in the case of such uncured default, the automatic stay of 11 USC 362(a) is lifted solely to permit
the Holder of an Allowed Class 43General Unsecured Claim to collect any unpaid Claims owing
to it without further order of the Court.



 Class          Description                               Treatment                    STATUS
 Class 4:       Equity Interest      The sole Equity      This Holder will retain      Non-voting
                Holder               Interest Holder      his Equity Interests         Deemed to
                                     of the Debtor        after Confirmation on        accept
                                                          account of New
                                                          Capital Contribution.

        ii.     The Plan provides for the Stockholder’s Cash Contribution of a minimum of (i)
$60,000 ($10,000 for the value of the Debtor’s used equipment Cash proceeds from inventory
sales on the day prior to the Effective Date and (ii) an estimated $50,000 minimum to pay for the
Fees of the Debtor’s Professionals as approved by the Court) and as may be agreed with the
Professionals, together with (iii) the Stockholder’s waiver of his annual salary for five years
($375,000) and provision of up to $10,000 during any seasonally slow month to enable the
Debtor to make its Plan payments, in exchange for his retention of his Equity Interest. The net
Cash remaining from the sale of inventory is estimated at $2,000. Upon reconciliation of
outstanding Claims against the estate by the Debtor and its Professionals, and the making of
Distributions to Allowed Creditors under the Plan in accordance with the rule of absolute
priorities and the Bankruptcy Code. The Plan categorizes the Claims against the Debtor into
distinct Classes. In accordance with the Bankruptcy Code, Administrative Claims are not
classified. The Plan also provides that expenses incurred by the Debtor during the Chapter 11
Case will be paid in full (or as may otherwise be agreed by all parties) and specifies the manner
in which holders of Allowed Claims in each Class will be treated. If there is any discrepancy
between this description of the Plan’s treatment of Creditors and that set forth in the Plan, the
terms of the Plan are controlling.

9.       VOTING ON THE PLAN.
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        a.      Who May Vote. The Plan divides Allowed Claims into Classes. Under the
Bankruptcy Code, only classes that are “impaired” are entitled to vote (unless the class receives
no compensation or payment, in which event the class is conclusively deemed to have rejected
the Plan). A class is impaired if the legal, equitable, or contractual rights attaching to the claims
of the class are modified, other than by curing defaults and reinstating maturities. Under the Plan,
Administrative, Priority Tax Claims and Equity Interests are unclassified and are not entitled to
vote. Classes 1, 2, and 4 are unimpaired and conclusively deemed to have accepted the Plan
pursuant to section 1126(f) of the Bankruptcy Code. Classes 3 is impaired and, therefore, is the
only Class of Creditors entitled to vote.

       b.      How to Vote. A form of Ballot is being provided to the members of Class of Class
3 by which Creditors in those Classes may vote to either accept or reject the Plan. To vote on the
Plan, please complete the enclosed Ballots by (1) indicating that you either accept or reject the
Plan and (2) signing your name and mailing the Ballot.

       c.   BALLOTS WITH ORIGINAL SIGNATURES. (NOT COPIES, FAXES OR
EMAILS) MUST BE COMPLETED, SIGNED AND MAILED SO AS TO BE RECEIVED
BY DEBTOR’S COUNSEL NO LATER THAN 5:00 P.M. EASTERN TIME ON MARCH
1, 2017 AT THE FOLLOWING ADDRESS OR THEY WILL NOT BE COUNTED:

                           Randall S. D. Jacobs, PLLC
                           Attorney for Debtor Prime Six, Inc.
                           Attn: Randall S. D. Jacobs, Esq.
                           30 Wall Street, 8th Floor
                           New York, New York 10005

    d.   IF YOUR BALLOT IS NOT PROPERLY COMPLETED, SIGNED AND
RECEIVED AS DESCRIBED, IT WILL NOT BE COUNTED.

     e.   ANY SIGNED BALLOT RETURNED WITHOUT ANY INDICATION
THAT THE VOTING CREDITOR ACCEPTS OR REJECTS THE PLAN WILL BE
DEEMED A BALLOT ACCEPTING THE PLAN. ANY SIGNED BALLOT RETURNED
WITHOUT AN AMOUNT WILL BE DEEMED IN THE AMOUNT SET FORTH ON
THE DEBTOR’S SCHEDULES.

    f.  IF YOUR BALLOT IS DAMAGED OR LOST, YOU MAY REQUEST A
REPLACEMENT BY ADDRESSING A WRITTEN REQUEST TO COUNSEL FOR THE
DEBTOR.

10.     CONFIRMATION OF THE PLAN.

        a.     Objections to Confirmation. Any objections to confirmation of the Plan must be
in writing and must be filed with the Bankruptcy Court and served on the Debtor and its counsel
listed below so that such objections so as to be received on or before March 1, 2017:

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                          Counsel for the Debtor:
                          Randall S. D. Jacobs, PLLC
                          c/o Randall S. D. Jacobs, Esq,
                          30 Wall Street, 8th Floor,
                          New York, New York 10005
                          Tel: (212) 709-8116
                            Fax: 973 226 8897.
                          Email: rsdjacobs@chapter11esq.com

                          The Debtor:
                          Prime Six, Inc.
                          c/o Akiva Ofshtein, Esq., President
                          15 Bay 29th Street
                          Brooklyn NY 11214

        b.     Hearing on Confirmation. The Bankruptcy Court has set March               _ , 2018
at ____ p.m. for a hearing (the “Confirmation Hearing”) to determine whether the requisite
number of Creditors has accepted the Plan and whether the other requirements for confirmation
of the Plan have been satisfied. The Confirmation Hearing will be held at the United States
Bankruptcy Court, Eastern District of New York, 271 Cadman Plaza East, Courtroom 3529,
Brooklyn, NY 11201-1800 before the Honorable Carla E. Craig, C.U.S.B.J. The Confirmation
Hearing may be continued from time to time and day to day without further notice. If the
Bankruptcy Court confirms the Plan, it will enter the Confirmation Order.

       c.     Estimation of Claims for Voting Purposes. Bankruptcy courts have the power to
estimate claims of creditors in cases under §502(c), title 11, chapter 11 of the Bankruptcy Code
for purposes of allowance, and under Rule 3018 of the Rules for temporary allowance for
purposes of voting on a plan of reorganization.

                    i.    The Code and Rules are silent regarding, among other things, the
                          sufficiency of evidence and burden of proof necessary to estimate a
                          claim; the appropriate discovery period; and whether following
                          estimation a full litigation of the claim is appropriate to protect the due
                          process rights of the claimant. There also is no rule limiting a
                          Bankruptcy Court’s authority as to the type of claim to be estimated,
                          such that claims requiring a jury trial or class action claims, or claims
                          for which relief from the automatic stay may have been granted, may
                          be subject to estimation.

       d.      Estimation Under Code §502(c). Under Code §502(c), a Bankruptcy Court must
estimate any claim for allowance purposes that is (i) contingent or unliquidated, the liquidation of
which would “unduly delay” the administration of the bankruptcy case, or (ii) a right to payment
based upon an equitable remedy for breach of performance.


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       e.     Unless an objection is filed under Rule 3018, the Debtor will treat disputed,
contingent, unliquidated Claims as having a value of $1.00 (One Dollar) solely for voting
purposes on the Plan of Reorganization.

       f.      Estimation Under Rule 3018. A Bankruptcy Court may estimate a claim that has
been objected to for the limited purpose of voting on a plan of reorganization. Objections to
claims may be filed prior to or after confirmation of a plan. If filed prior to confirmation of a
plan, unless by agreement or court order, a claimant that is the recipient of an objection may be
barred from voting its claim or having its vote count.

11.     MEANS FOR IMPLEMENTING THE PLAN.

        a.      The Stockholder’s Cash Contributions. Based the Senser equipment appraisal
(See Exhibit 3) and current market condition for restaurant leases, the Debtor believes that a
forced liquidation of the Debtor’s Business assets will result in little or no distribution to
Creditors. Therefore, in order for the Debtor’s Plan to be implemented, the Stockholder will
make a Contribution to the Debtor equal to 100% of the forced liquidation value of all of the
Debtor’s Equipment and Inventory (at least $10,000 plus Cash on hand on the day before the
Effective Date estimated at $2,000). The Cash Contributed by its Stockholder will at least equal
the forced liquidation value of all of the Debtor’s Assets (its Equipment, furniture, fixtures, etc.),
as appraised by Senser Appraisal Associates’ report dated October 27, 2015 (See Exhibit 4
attached hereto), together with any net Cash remaining in the Debtor’s bank or Premises from
liquidation of its Inventory, to the Debtor. In addition, the Stockholder will remain personally
liable for payment of those Tax Claims not otherwise paid in monthly/quarterly installments by
the Debtor, pursuant to the priorities established by Bankruptcy law: i.e., Administration
Expenses, Allowed Priority Non-Tax Claims, General Unsecured Claims which obtain a
judgment against the Debtor. (See Exhibit 5 attached hereto.) To that end, on or about November
6, 3017, the Stockholder’s 2016 IRS Tax refund in the sum of $19,575.00 was applied to reduce
the Debtor’s remaining unpaid IRS Taxes. Finally, the Stockholder has agreed to contribute an
additional amount to the Debtor, on a monthly basis, of approximately $10,000.00 to be used in
the event the Debtor needs additional funds up to that amount monthly during seasonal low profit
months, in order to complete any monthly plan distributions beginning on the First Distribution
Date. Upon condition, that the Stockholder Contributes the abovementioned Cash, remains
personally liable for all unpaid Tax Claims, and waives payment and contributes the reasonable
value of his annual services as President estimated for five years, at no less than $75,000 per year
(or an aggregate of $375,000) to be rendered to the Debtor without salary, the Stockholder shall
retain his Equity Interest in the Reorganized Debtor and the Debtor shall be relieved of all
liability for such claims or judgments, including the legal defense thereof, arising therefrom upon
payment therefore in full.

       b.      Retention and Preservation of Causes of Action. In accordance with section
1123(b)(3) of the Bankruptcy Code and except as may otherwise be provided by order of this
Court, the Debtor and its Estate shall retain all of defenses arising under applicable state laws,
including, without limitation, preference and fraudulent transfer claims, if any, and all other


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causes of action of a trustee and debtors in possession (the “Defenses”) under the Bankruptcy
Code or other federal or state law.

        c.      Treatment of Executory Contracts and Unexpired Leases. Assumed or
Rejected Contracts and Leases. Except as otherwise provided in the Confirmation Order or the
Plan, the Confirmation Order shall constitute an order under section 365 of the Bankruptcy Code
assuming all prepetition executory contracts and unexpired leases to which the Debtor is a party,
to the extent such contracts or leases are executory contracts or unexpired leases, on and subject
to the occurrence of the Effective Date, unless such contract or lease (a) previously shall have
been assumed, assumed and assigned, or rejected by the Debtor, (b) previously shall have expired
or terminated pursuant to its own terms before the Effective Date, or (c) is the subject of a
pending motion to assume or reject on the Confirmation Date.

        d.     Parties to Executory Contracts or Unexpired Leases.

                    i.     Executory Contracts or Unexpired Leases. Parties to such contracts
                           or leases that are assumed by Debtor by the Effective Date of this
                           chapter 11 case will be paid according to the terms of the contracts or
                           leases or by the terms of any orders of the Court approving the
                           assumption of the contracts or leases, or as the parties to the contracts
                           or leases shall otherwise agree. Parties to rejected executory contracts
                           or unexpired leases, if any, pursuant to the orders of the Bankruptcy
                           Court will have Unsecured “rejection” Claims falling within Class 3.

       e.       Bar to Rejection Damages. If the rejection of an executory contract or unexpired
lease gives rise to a Claim by the other party or parties to the contract or lease, the Claim shall be
forever barred and shall not be enforceable against the Debtor (in such capacity) Assets unless a
Proof of Claim is filed and served on the Debtor within thirty (30) days after service of a notice
of the Effective Date or such other date as is prescribed by the Bankruptcy Court.

        f.     Distributions.

                    i.     First Distribution Date. The Distribution Date is the date upon which
                           initial distributions are made by the Disbursing Agent to Holders of
                           Allowed Claims entitled to receive Distributions under the Plan, which
                           shall be the date that is no later than the Effective Date or thirty (30)
                           days thereafter, to make a Distribution. Except as otherwise provided
                           in the Plan, all Distributions to be made on account of Allowed Claims
                           as of the Effective Date shall be made on the First Distribution Date.
                           Distributions on account of Claims that first become Allowed Claims
                           after the Distribution Date shall be made pursuant to the terms and
                           conditions of the Plan.



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                 ii.    No Distribution shall be made on account of any Allowed Claim or
                        portion thereof that (i) has been satisfied after the Petition Date
                        pursuant to an order of the Bankruptcy Court; (ii) is listed in the
                        Schedules as contingent, unliquidated, disputed or in a zero amount,
                        and for which a Proof of Claim has not been timely filed or to which
                        an objection has been filed by the Debtor, (iii) is evidenced by a Proof
                        of Claim that has been amended by a subsequently filed Proof of
                        Claim that purports to amend the prior Proof of Claim, except to the
                        extent that the amended Claim is Allowed.

                 iii.   Subsequent Distribution Dates. The Disbursing Agent shall determine
                        subsequent Distribution dates in his or her sole reasonable discretion
                        as and when there is sufficient Cash available to the Debtor to warrant
                        a Distribution or when distributable operating profits are available.
                        Such Distributions will be made pursuant to the provisions of the Plan
                        governing the applicable Class and without interest.

                 iv.    De Minimis Distributions. The Disbursing Agent shall not have any
                        obligation to make a Distribution on account of an Allowed Claim if
                        the amount to be distributed to the specific Holder has a value less than
                        five dollars ($5).

                 v.     Allocation of Plan Distributions Between Principal and Interest. To the
                        extent that any Allowed Claim entitled to a Distribution under the Plan
                        is composed of indebtedness and accrued but unpaid interest thereon,
                        the Distribution shall, for all Tax purposes, be allocated to the
                        principal amount of the Claim first and then, to the extent the
                        consideration exceeds the principal amount of the Claim, to the portion
                        of such Claim representing accrued but unpaid interest.

                 vi.    Distribution Record Date. Neither the Debtor nor the Disbursing Agent
                        will have any obligation to recognize the transfer of any Allowed
                        Claim that occurs after the close of business on the Distribution
                        Record Date, and will be entitled for all purposes in and under the Plan
                        to recognize and distribute only to those Holders of Allowed Claims
                        who are Holders as of the close of business on the Distribution Record
                        Date. Instead, the Disbursing Agent shall be entitled to recognize and
                        deal for all purposes under the Plan with only those record Holders
                        stated on the official claims register as of the close of business on the
                        Distribution Record Date. The Distribution Record Date will be not
                        more than 60 days after the Bankruptcy Court determines the amount
                        of compensation and reimbursement of expenses owed to
                        Professionals, and may be changed by order of the Bankruptcy Court.



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                   vii.    No Distributions Pending Allowance. Notwithstanding any other
                           provision of the Plan, no Distributions shall be made with respect to all
                           or any portion of a Disputed Claim unless and until all objections to
                           the Disputed Claim have been settled or withdrawn or have been
                           determined by Final Order, and the Disputed Claim, or some portion
                           thereof, has become an Allowed Claim.

                   viii.   To the extent that a Claim is not a Disputed Claim but is held by a
                           Holder that is or may be liable to the Debtor on account of a Cause of
                           Action, no Distributions shall be made with respect to all or any
                           portion of such Claim unless and until such Claim and liability have
                           been settled or withdrawn or have been determined by Final Order of
                           the Bankruptcy Court or such other court having jurisdiction over the
                           matter.

                   ix.     Distributions After Allowance. Distributions to the Holder of a
                           Disputed Claim, to the extent that it ultimately becomes an Allowed
                           Claim, will be made in accordance with provisions of the Plan that
                           govern distributions to Holders in that Class.

        g.     Setoffs. Unless otherwise authorized by a Final Order, any Holder of a Claim must
assert any setoff or recoupment rights against a claim by the Debtor against such entity by filing
an appropriate motion seeking authority to setoff or recoup on or before the Distribution Date or
will be deemed to have waived and be forever barred from asserting any right to setoff against a
claim by the Debtor notwithstanding any statement to the contrary in a Proof of Claim or any
other pleading or document filed with the Bankruptcy Court or delivered to the Debtor.

        h.    Procedure for Treating and Resolving Class 3 Claims.

                   i.      Objection Deadline. Prosecution of Objections. Except as set forth in
                           the Plan with respect to Professional Fee Claims and Administrative
                           Claims, all objections to Class 3 Claims must be filed and served on
                           the Holders of such Claims no later than the Claims Objection
                           Deadline, as such Deadline may be extended by the Bankruptcy Court.
                           If an objection has not been filed to a Proof of Claim or the Schedules
                           have not been amended with respect to a Claim that (i) was Scheduled
                           by the Debtor but (ii) was not Scheduled as contingent, unliquidated
                           and/or disputed, by the Claims Objection Deadline, as the same may be
                           extended by order of the Bankruptcy Court, the Claim to which the
                           Proof of Claim or Scheduled Claim relates will be treated as an
                           Allowed Claim if the Claim has not been allowed earlier.

        i.    Releases, Injunction and Exculpation.



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                  i.    Releases by the Debtor. On the Effective Date, the Debtor, on behalf
                        of themselves and its Estate shall release unconditionally, and shall be
                        deemed to forever release unconditionally, the Debtor’s Professionals,
                        solely in its capacities as such, from any and all claims, obligations,
                        suits, judgments, damages, rights, causes of action and liabilities
                        whatsoever (other than the right to enforce the performance of its
                        respective obligations, if any, to the Debtor under the Plan, and the
                        contracts and other agreements delivered under the Plan), whether
                        liquidated or unliquidated, fixed or contingent, matured or unmatured.
                        known or unknown, foreseen or unforeseen, directly or derivatively,
                        then existing or thereafter arising, in law, equity or otherwise that are
                        based in whole or in part on any act or omission, transaction, event or
                        other occurrence taking place on or prior to the Effective Date in any
                        way relating to the Debtor, the Chapter 11 Case, the Plan or this
                        Disclosure Statement provided, however, that notwithstanding the
                        foregoing nothing contained herein is intended to or shall operate as a
                        release of any claims for fraud, willful misconduct or gross negligence.
                        The foregoing shall not release and shall not be deemed or construed to
                        release Avoidance Actions or the recipients of any transfers that are
                        avoidable or recoverable under Chapter 5 of the Bankruptcy Code.

       j.     Injunction. Except as otherwise provided in the Plan, the Confirmation
Order shall provide, among other things, that from and after the Effective Date all Entities
who have held, hold or may hold Claims against the Debtor are permanently enjoined from
taking any of the following actions against the Debtor or its Estate, or any of its property
on account of any such Claims: (1) commencing or continuing, in any manner or in any
place, any action or other proceeding; (2) enforcing, attaching, collecting or recovering in
any manner any judgment, award, decree or order; (3) creating, perfecting or enforcing
any lien or encumbrance; (4) asserting a setoff, right of subrogation or recoupment of any
kind against any debt, liability or obligation due to the Debtor unless authorized under the
Plan; and (5) commencing or continuing, in any manner or in any place, any action that
does not comply with or is inconsistent with the provisions of the Plan; provided, however,
that nothing contained in the Plan shall preclude such Persons from exercising its rights
pursuant to and consistent with the terms of the Plan or the Confirmation Order.

       k.     Exculpation and Limitation of Liability. Except as otherwise provided in the
Plan and to the extent permissible under section 1125(e) of the Bankruptcy Code, the
Debtor and its Professionals and any of such parties’ successors and assigns, shall not have
or incur any claim, action, proceeding, Cause of Action, suit, account, controversy,
agreement, promise, right to legal remedies, right to equitable remedies, right to payment
or Claim (as defined in section 101(5) of the Bankruptcy Code), whether known, unknown,
reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, disputed, undisputed, secured or unsecured and whether or not
asserted directly or derivatively, in law, equity or otherwise to one another or to any

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Holder of a Claim, or any other party in interest, or any of its respective agents, employees,
representatives, financial advisors, attorneys, or any of its successors or assigns, for any act
or omission originating or occurring on or after the Petition Date through and including
the Effective Date in connection with, relating to, or arising out of the Debtor, the Chapter
11 Case, negotiation and filing of the Plan or any prior plans, filing the Chapter 11 Case,
the pursuit of confirmation of the Plan or any prior plans, the consummation of the Plan,
the administration of the Plan or the property to be liquidated and/or distributed under the
Plan, except for fraud, willful misconduct or gross negligence as determined by a Final
Order of a court of competent jurisdiction, and in all respects shall be entitled to
reasonably rely upon the advice of counsel with respect to its duties and responsibilities
under the Plan.

        l.     Term of Bankruptcy Injunction or Stays. All injunctions or stays provided for
in the Chapter 11 Case under sections 105 or 362 of the Bankruptcy Code, or otherwise, and in
existence on the Confirmation Date, shall remain in full force and effect until the Effective Date
unless otherwise provided in the Plan. Upon the Effective Date, the injunction provided under the
Plan shall apply.

       m.      Indemnification Obligations. Except as otherwise provided in the Plan, an order
of the Bankruptcy Court or any agreement or document entered into in connection with the Plan,
any and all indemnification obligations that the Debtor have pursuant to a contract, instrument,
agreement or other document or applicable law shall be deemed rejected (if and to the extent
executory) as of the Effective Date.

       n.     Miscellaneous Matters. Services by and Fees and Expenses of Professionals.
Fees and expenses of Professionals for services rendered and costs incurred after the Petition
Date and prior to the Effective Date will be fixed by the Bankruptcy Court after notice and a
hearing and such fees and expenses will be paid in accordance with the terms and conditions of
the Plan.

                    i.     Final Fee Application of Professionals. All final requests for
                           payment of Professional Fee Claims (the “Final Fee Applications”)
                           must be filed no later than thirty (30) days after the Effective Date.
                           Objections, if any, to Final Fee Applications must be filed and served
                           on counsel for the Debtor, the requesting Professional and the US
                           Trustee no later than thirty (30) days from the date on which the Final
                           Fee Application is served and filed. After notice and a hearing in
                           accordance with the procedures established by the Bankruptcy Code,
                           the Allowed amounts of the Professional Fee Claims shall be
                           determined by the Bankruptcy Court.

       o.      Conditions Precedent to Plan Effectiveness. Conditions Precedent to Plan
Effectiveness and Effective Date. The Effective Date will occur when the conditions set forth in
Article VIII of the Plan have been satisfied. Article VIII of the Plan specifies that it is a condition

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precedent to the effectiveness of the Plan that: (i) the Confirmation Order shall have been entered
and become a Final Order and shall provide that the Debtor is authorized and directed to take all
actions necessary or appropriate to enter into, implement and consummate the agreements or
documents created in connection with the Plan or effectuate, advance or further the purposes
thereof; (ii) all other actions, documents and agreements necessary to implement the Plan shall
have been effected or executed including, without limitation, (iii) the Confirmation Order shall
fix a deadline for the filing of requests for payment Administrative Claims and (iv) the Debtor
shall have sufficient Cash to enable all required payments necessary to Confirmation to be made.

       p.      Waiver of Conditions. The Debtor may waive, at any time, without notice, leave
or order of the Bankruptcy Court, and without any formal action other than proceeding to
consummate the Plan, the conditions set forth in Article VIII of the Plan.

12.     RISK FACTORS.

       a.     Summary. The following is intended as a summary of certain material risks
associated with the Plan. Each Creditor must analyze and evaluate the Plan and this Disclosure
Statement as a whole to determine whether there are any other risk factors that might pertain to
them.

       b.     Satisfaction of Conditions to Effective Date. The failure to satisfy any of the
conditions precedent to the occurrence of the Effective Date will prevent confirmation of the
Plan.

        c.      Voting Risks. For the Plan to be confirmed, each Impaired Class is given the
opportunity to accept or reject the Plan. Class 3 must accept the Plan in order for it to be
Confirmed. With regard to the Impaired Classes that vote on the Plan, the Plan will be deemed
accepted by each of the Impaired Classes if it is accepted by holders of Claims of such Class who
hold at least two-thirds (2/3) in dollar amount and more than one half (½) in number (50% +1) of
the total Claims of the Class actually voting on the Plan. Only those members of a Class who
vote to accept or reject the Plan will be counted for voting purposes. To confirm the Plan, the
Debtor must satisfy the requirements of section 1129(a) of the Bankruptcy Code. Although the
Debtor believes that the Plan will satisfy those requirements, there can be no assurance that the
Bankruptcy Court will reach the same conclusion or that the Confirmation Order, if challenged
on appeal, will be affirmed. If the Plan does not receive the required support from Creditors, the
Debtor may amend the Plan to provide alternative treatment to a dissenting class or may seek to
confirm the Plan through the “cramdown” provisions of 11 U.S.C. § 1129(b). If the Plan does not
confirm or does not become effective, the Debtor could ask that the Chapter 11 Case be
converted to a case under chapter 7 or dismissed. Any objection to the Plan by a party in interest
could either prevent, or delay for a significant period of time, confirmation of the Plan.

      d.     Objection Risks. Pursuant to section 1129(a)(15), if the Holder of an Allowed
Unsecured Claim objects to Confirmation of the Plan, the Court cannot confirm the Plan unless;


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                    i.     the value, as of the effective date of the plan, of the property to be
                           distributed under the plan on account of such claim is not less than the
                           amount of such claim; or

                    ii.    the value of the property to be distributed under the plan is not less
                           than the projected disposable income of the debtor (as defined in
                           section 1325(b)(2)) to be received during the 5-year period beginning
                           on the date that the first payment is due under the plan, or during the
                           period for which the plan provides payments, whichever is longer.

                    iii.   Under this section, if a Creditor holding an Allowed Unsecured Claim
                           objects to Confirmation of the Plan, the Court, in ruling on the
                           objection, will be required to determine whether the value of the
                           payments to be made to the objecting Creditor are equal to or greater
                           than the amount of the Claim or whether the value of the payments to
                           be made under the Plan are equal to or greater than the “projected
                           disposable income” of the Debtor to be received during the 5-year
                           period beginning on the Distribution Date or during the period for
                           which the plan provides payments, whichever is longer.

        e.       Risk of Loss of Lease. Although the Bar has leased the same location for nearly 4
years, in its Prior Chapter 11 Case, it failed to assume its Lease; according to Bankruptcy Law,
such failure to assume is deemed a rejection of the Lease. As a result, the Landlord moved to
Compel the Surrender of the Premises, etc., asserting the rejection of the Lease. After much
negotiations, the Landlord and the Debtor reached a stipulation whereby the Debtor had to pay
the Landlord all rental arrears. Although it has done so to date, the Court has indicated that it
would approve its motion to assume the Lease in this Chapter 11 Case, no such order has been
entered as of this date. However, if the Debtor is unsuccessful in obtaining a renewal or new
lease, the Debtor will likely have to move its business to another location, preferably nearby to its
present location, which moving costs are likely to be substantial taken together with other costs
of opening a new location. The Debtor’s Stockholder has agreed that in such an event, he will
attempt to raise and contribute the necessary additional capital to finance relocation, but such
additional costs may be prohibitive.

13.     REQUIREMENTS FOR CONFIRMATION.

        a.     At the Confirmation Hearing, the Bankruptcy Court will determine whether the
requirements of section 1129 of the Bankruptcy Code have been satisfied with respect to the
Plan, in which event the Bankruptcy Court will enter an order confirming the Plan. The Debtor
will be required to demonstrate that the Plan complies with all of the provisions set forth above.
The Debtor believes that the Plan satisfies all of the statutory requirements for confirmation of
the Plan. The following subsections discuss some of the most important requirements of section
1129(a) of the Bankruptcy Code.


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        b.     Acceptances Necessary to Confirm Plan. At the Confirmation Hearing, the
Bankruptcy Court must determine, among other things, whether each Impaired Class has
accepted the Plan. Under Section 1126 of the Bankruptcy Code, an Impaired Class of Claims is
deemed to have accepted a plan if a plan has been accepted by creditors of that class that hold at
least two-thirds (2/3) in amount and more than one-half (½) in number (50% +1) of the allowed
Claims of such class held by creditors that have accepted or rejected the plan. Classes 2 and 2(a)
are Impaired Classes entitled to vote to accept or reject the Plan. Classes 1 and 3 are not impaired
and so are conclusively presumed to have accepted the Plan.

                    i.    In determining acceptances of the Plan, Ballots will only be counted if:
                          (1) properly completed (e.g., containing an original signature); (2)
                          timely received; and (3) the holder’s Claim is duly scheduled by the
                          Debtor as other than disputed, contingent, or unliquidated, or if the
                          Creditor has timely filed with the Bankruptcy Court a proof of claim
                          that is not a Disputed Claim. The Ballot that you received does not
                          constitute a proof of claim.

                    ii.   In calculating whether a Creditor has voted for or against the Plan, the
                          Debtor will not consider Ballots that do not properly indicate an
                          acceptance or a rejection. If you are in any way uncertain whether or
                          not your Claim has been correctly scheduled, you should review the
                          Schedules and any amendments that are on file with the Bankruptcy
                          Court. Do not contact the Debtor, its attorneys or the Bankruptcy Court
                          with questions about the scheduling of your Claim. Any information
                          they, or anyone else, may give that is inconsistent with the Schedules
                          themselves is unauthorized, void, and of no effect.

        c.      Feasibility of Plan. Section 1129(a)(11) of the Bankruptcy Code requires, as a
condition to confirmation, that the Bankruptcy Court finds that confirmation of a plan is not
likely to be followed by the liquidation or the need for further financial reorganization of the
debtor or any successor to the debtor under the plan, unless such liquidation or reorganization is
proposed under the plan. This requirement is called “feasibility.” See Exhibit 8 evidencing the
Cash available to the Debtor as of the Confirmation Date being sufficient for the First
Distribution and the Debtor’s projections are attached as Exhibit 4.

                    i.    The projections in Exhibit 4 demonstrate that the Debtor will not
                          require further financial reorganization or liquidation after the
                          Stockholder’s Cash Contribution including the contributed value of his
                          services rendered as President for five years (@$75,000 per year) from
                          the Effective Date).To that end, on or about November 6, 3017, the
                          Stockholder’s 2016 IRS Tax refund in the sum of $19,575.00 was
                          applied to reduce the Debtor’s remaining unpaid IRS Taxes. Finally,
                          the Stockholder has agreed to contribute an additional amount to the
                          Debtor, on a monthly basis, of $10,000 to be used in the event the

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                           Debtor needs additional funds up to that amount, in order to complete
                           any monthly plan distributions during any seasonally slower revenue
                           months beginning on the First Distribution Date. Accordingly, concern
                           that the Debtor will need further financial reorganization is not an
                           issue and, therefore, the Plan is by its nature and terms, feasible.

                    ii.    The Debtor has prepared a pro forma budget, attached as Exhibit 6,
                           showing its projected income and expenses for five (5) years following
                           an anticipated Effective Date of December 31, 2017. The budget
                           shows that the Debtor will be able to make the payments called for in
                           the Plan without the need for further liquidation or reorganization. See
                           Exhibit 6.

       d.      Best Interest of Creditors Test. Confirmation requires, among other things, that
each holder of a Claim in an Impaired Class either: (i) accepts the Plan; or (ii) receives or retains
under the Plan property of a value, as of the Effective Date, that is not less than the value the
holder would receive or retain if the Debtor were liquidated under Chapter 7 of the Bankruptcy
Code. This requirement is commonly referred to as the “Best Interests Test.” See Liquidation
Analysis in subsection f. i. below.

        e.     Chapter 7 Liquidation. To determine the value that the holders of Impaired
Claims would receive if the Debtor were liquidated, the Bankruptcy Court must determine the
dollar amount that would be generated from the liquidation of assets and properties of the Debtor
in the context of a chapter 7 liquidation case.

                    i.     Section 704 of the Bankruptcy Code requires a chapter 7 trustee to
                           collect and reduce to money the property of the estate as expeditiously
                           as is compatible with the best interests of parties in interest. In the case
                           of the Debtor, a chapter 7 trustee would be administrating an estate
                           made up largely of the same assets that are available for Creditors
                           under the Plan. The Cash available for satisfaction of Allowed Claims
                           would consist of the proceeds resulting from the forced liquidation by
                           a Chapter 7 Trustee of Assets of the Debtor, at a highly discounted
                           price which is the norm for such sales, augmented by Cash, if any, held
                           by the Debtor at the time of the commencement of the chapter 7 case.
                           That Cash amount would then be reduced by the amount of any
                           Priority Tax or Claims Secured by the Assets, if any, the costs and
                           expenses of the liquidation, and additional Administrative Claims and
                           other Priority Claims that may result from the use of chapter 7 for the
                           purposes of liquidation. The costs of liquidation under chapter 7 would
                           include fees payable to the trustee in bankruptcy, as well as those that
                           might be payable to his or her attorneys and to other professionals that
                           the trustee may engage, plus any unpaid expenses incurred by the
                           Debtor during the Chapter 11 Case that would be allowed in the

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                           chapter 7 cases, such as compensation for attorneys, accountants or
                           other professionals and costs and expenses of the Debtor. These
                           Administrative Claims would have to be paid in Cash, in full, from the
                           liquidation proceeds before the balance of those proceeds could be
                           made available to pay other Priority Claims and Allowed General
                           Unsecured Claims from the Chapter 11 Case.

        f.      Liquidation Analysis. The Debtor intends to object to certain Claims and will
require Holders of such Claims to document their claims prior to payment. There may be
additional Causes of Action, such as preferences or fraudulent conveyances, that the Debtor may
investigate and pursue that may result in recoveries for the benefit of the Debtor’s Estate that
would augment the proceeds of any Asset sales. Moreover, to the extent that any Claims are
disallowed, the total amount of Allowed Claims will also decrease, leading to a greater
distribution to each Creditor.

                    i.     The Liquidation Analysis attached as Exhibit 57 provides the likely
                           value that would be obtained if the Debtor were liquidated under
                           chapter 7 of the Bankruptcy Code. The Debtor believes that liquidation
                           of the Debtor’s Assets (including its bar and restaurant Assets at a
                           likely highly discounted value) even as a going business will result in
                           little if any distribution to the General Unsecured Creditors. This is so
                           because the Secured and Priority Taxes have priority in payment over
                           General Unsecured Creditors; therefore any proceeds resulting from a
                           sale of the Debtor’s assets or its Business will first go to pay nearly
                           $1,000,000 in priority and Secured Taxes owed to the NYSDOTF and
                           IRS rather than to pay General Unsecured Creditors. Therefore, even if
                           the Debtor liquidated its business, in the unlikely event it were to
                           realize one million dollars, the General Unsecured Creditors would
                           still receive no distribution. Conversely, the proposed Plan will result
                           in a greater distribution to General Unsecured Creditors; further, under
                           chapter 7 (i) there would be the additional expense of compensation
                           payable to a chapter 7 trustee and the trustee’s professionals’ fees and
                           (ii) the Chapter 7 trustee would not be able to obtain a Capital
                           Contribution from Debtor’s Stockholder to fund any payment to
                           General Unsecured Creditors.

       g.      Classification. In accordance with section 1122 of the Bankruptcy Code, the Plan
provides for the classification of four (4) basic Classes of Claims. Section 1122(a) permits a plan
to place a claim or an interest in a particular class only if the claim or interest is substantially


         7
               Attached to Exhibit 3 are brochures of comparable restaurants currently on the
market, evidencing the likelihood of little return to the Debtor’s Creditors if its remaining Lease
were sold or assigned to a third party, assuming such a prospective buyer could be located.
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similar to the other claims or interests in that class. The Debtor believes that the classification of
Claims under the Plan is appropriate and consistent with applicable law.

        h.     Deleted.

        i.      No Unfair Discrimination. A plan of reorganization “does not discriminate
unfairly” if (a) the legal rights of the non-accepting Impaired Class are treated in a manner that is
consistent with the treatment of other classes whose legal rights are intertwined with those of the
non-accepting class, and (b) no class receives payments in excess of that which it is legally
entitled to receive for its allowed claim. The Debtor believes that under the Plan (i) all Impaired
Classes of Claims are treated in a manner that is consistent with the treatment of other Classes of
Claims with which its legal rights are intertwined, if any, and (ii) no Class of Claims will receive
payments or property with an aggregate value greater than the aggregate value of the Allowed
Claims in such Class. Accordingly, the Debtor believes that the Plan does not discriminate
unfairly as to any Impaired Class.

        j.      Fair and Equitable Test. A plan is “fair and equitable” with respect to unsecured
creditors if either: (i) each holder of an unsecured claim receives or retains under the plan
property of a value equal to the amount of its allowed claim; or (ii) the holders of claims that are
junior to the claims of the non-accepting class do not receive any property under the plan on
account of such claims and interests. Under the Plan, there are no creditors with priority junior to
the General Unsecured Creditors. By definition, the Plan is fair and equitable with respect to
Class 4(c) regardless of whether the General Unsecured Creditors accept or reject the Plan. The
cramdown provisions are complex and this summary is not intended to be a complete statement
of the law in this area.

        k.     The Rule of Absolute Priority. A plan is “fair and equitable” only if the Allowed
value of Claims are to be paid in full, or if the Holder of any Claim or Interest that is junior to
dissenting creditors, if any, will not receive or retain any property under the Plan on account of
such junior claim or interest. § 1129(b)(2)(B)(ii). Accordingly, the rule is Equity Interest Holders
cannot receive distributions pursuant to the Plan prior to any dissenting holder of a junior claim
or interest. The Plan also provides that the Stockholder will retain his Equity Interest in the
reorganized Debtor, only upon condition they contribute “substantial” and “essential” funding of
the Debtor to the extent of all Allowed Administrative Claims and approved compensation of the
Debtor’s Professionals. The Stockholder has agreed to make such Cash contributions to the
Debtor for payment of the Debtor’s Professionals estimated at approximately $50,000 together
with the value of the Debtor’s used equipment, i.e., $10,000 for a total of $60,000, remain
personally liable for all Tax Claims and contribute the reasonable value of his services as
President of the Debtor at $75,000 annually or am aggregate of $375,000) and accordingly will
remain the President and Equity Holder of the Reorganized Debtor. In addition, the Stockholder
will contribute the cash value of the proceeds of the sale of the Debtor’s Inventory as of the
Effective Date. Moreover, on or about November 6, 3017, the Stockholder’s 2016 IRS Tax
refund in the sum of $19,575.00 was applied to reduce the Debtor’s remaining unpaid IRS Taxes
and NYSDOTF applied a refund of $4,766 to reduce the Debtor’s unpaid NYSDOTF taxes.

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Finally, the Stockholder has agreed to contribute an additional amount to the Debtor, on a
monthly basis, of approximately $10,000.00 (aggregating $60,000) to be used in the event the
Debtor needs additional funds up to that amount, in order to complete any monthly plan
distributions beginning on the First Distribution Date. The Debtor will not pay allowed Secured
or Priority Tax Claims or Allowed General Unsecured Creditors on the Effective Date in full, but
will pay both (i) all Priority and Secured Tax Claims in full over 96 monthly payments beginning
on the First Distribution Date and (ii) the Allowed Claims of General Unsecured Creditors will
also be paid in the sum of $0.01 on the dollar, annually for five years, unless such Unsecured
Creditors agree to accept $0.02 in a one time payment after the Effective Date. In addition, the
Stockholder will remain surety and personally liable for all unpaid Taxes owed by the Debtor
until the Allowed Taxes are paid in full.

14.     EFFECT OF CONFIRMATION.

       a.      Binding Effect of Confirmation. Confirmation will bind the Debtor, all Creditors
and other parties in interest to the provisions of the Plan whether or not the Claim of the Creditor
is impaired under the Plan and whether or not the Creditor has voted to accept the Plan.

        b.    Vesting of Assets Free and Clear of Liens, Claims and Interests. Except as
otherwise provided in the Plan or in the Confirmation Order, upon the Effective Date, title to all
assets and property of the Debtor and all property of its Estate shall revest in the Debtor and each
and every Claim, demand or cause of action that the Debtor had or had power to assert
immediately prior to the Confirmation Date will, except as provided in the Plan vest in the
Debtor free and clear of all liens, claims and interests, subject to the Plan and the Debtor shall
continue in business; provided, however, that the liens held by the Taxing Authorities shall not
be released until all quarterly (or monthly) payments to Secured and Priority Tax Claim Holders
have been paid in full pursuant to the Plan.

       c.      Good Faith. Confirmation of the Plan shall constitute a finding that (i) Plan has
been proposed in good faith and in compliance with applicable provisions of the Bankruptcy
Code, and (ii) the solicitation of acceptances or rejections of the Plan has been in good faith and
in compliance with applicable provisions of the Bankruptcy Code.

        d.      No Limitations on Effect of Confirmation. Nothing contained in the Plan will
limit the effect of Confirmation as described in section 1141 of the Bankruptcy Code.

        e.      Section 1146 Exemption. Pursuant to section 1146(a) of the Bankruptcy Code,
the issuance, transfer or exchange of any security under the Plan, or the making or delivery of an
instrument of transfer under the Plan, may not be Taxed under any law imposing a stamp Tax or
similar Tax. Thus, any sales of real property shall be free of these Taxes.

15.     FEDERAL INCOME TAX CONSIDERATIONS.



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        a.      Consummation of the Plan, including certain cancellation of indebtedness of the
Debtor and other actions required under the Plan may result in recognition of income,
deductions, gain or loss to the Debtor and the possible incurrence of Taxes, which may constitute
an Administrative Expense Claim. The Federal income Tax consequences to a particular Creditor
will depend primarily upon whether that Creditor’s claim constitutes a security for Federal
income Tax purposes. The determination as to whether any particular Claim constitutes a security
is complex and depends on facts and circumstances surrounding the origin and nature of the
Claim. The receipt of Cash by the holder of an Allowed General Unsecured Claim against the
Debtor may be a fully Taxable transaction. Accordingly, Holders of those Claims may recognize
gain or loss in an amount equal to the difference between (i) the amount realized in satisfaction
of the Claim (other than in respect of any Claim for accrued but interest, and excluding any
portion required to be treated as imputed interest due to the post-Effective Date distribution of
such consideration following the resolution of any Disputed Claims in the same class), and (ii)
the holder’s adjusted Tax basis in its Claim (other than any Claim for accrued but unpaid
interest).

     b.   NO REPRESENTATIONS ARE MADE REGARDING THE PARTICULAR
TAX CONSEQUENCES OF THE PLAN TO ANY HOLDER OF A CLAIM. EACH
HOLDER OF A CLAIM OR INTEREST IS STRONGLY URGED TO CONSULT WITH
ITS OWN TAX ADVISOR REGARDING THE FEDERAL, STATE, LOCAL AND
FOREIGN TAX CONSEQUENCES OF THE PLAN.

16.     ALTERNATIVES TO THE PLAN.

        a.      The Debtor believes that, if the Plan is not confirmed or is not confirmable, the
only realistic alternative Plan is conversion to chapter 7 pursuant to which a trustee would be
appointed to liquidate any remaining assets of the Debtor to the highest bidder for distribution to
Creditors in accordance with the priorities established by the Bankruptcy Code. Such liquidation
would likely realize very little for Creditors. For the reasons discussed above, the Debtor believe
that Confirmation of the Plan would provide each holder of a General Unsecured Claim entitled
to receive a distribution under the Plan with a recovery that is expected to be at least as much and
likely greater than it would receive in a liquidation under chapter 7 of the Bankruptcy Code.

17.     CONCLUSION.

       a.      The Debtor believes that the Plan is in the best interest of Creditors and urges
Creditors to vote to accept the Plan.

Dated: Brooklyn, New York
       February 13, 2018
                                                     /s/Akiva Ofshtein
                                                     Akiva Ofshtein, President


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                                      --- Revision List ---                                      |
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Location is Old Page:Old Paragraph New Page:New Paragraph.                                       |
Paragraph numbers shown as zero refer to the part of a paragraph that is carried over from the   |
previous page. The {Hrt/Hpg/Tab/Spc} codes are generic symbols which refer to categories of      |
end-of-line, tab/indent, or space codes.                                                         |
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5:5 6:1 Change $29,897 -To- $107,324                                                             |
5:5 6:1 Delete and as to which Mr. Ofsh...                                                       |
14:5 15:1 Change $27 -To- $29                                                                    |
14:5 15:1 Change 510.63 -To- 005.50                                                              |
14:5 15:1 Change 502 -To- 801                                                                    |
14:5 15:1 Change 13 -To- 09                                                                      |
15:12 16:3 Change $12 -To- $14                                                                   |
15:12 16:3 Change 121.24 -To- 024.80                                                             |
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17:2 17:5 Change $847,214.58 -To- $580,109.99                                                    |
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17:3 18:0 Change $12 -To- $14                                                                    |
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17:3 18:0 Change 510 -To- 005                                                                    |
17:3 18:0 Change 65 -To- 55                                                                      |
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18:33 19:23 Change $12 -To- $14                                                                  |
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21:2 22:0 Change 26 -To- 18                                                                      |
22:3 22:8 Change 365 -To- 364                                                                    |
22:4 22:9 Change $253 -To- $107                                                                  |
22:5 22:10 Change 344 -To- 324                                                                   |
22:5 22:10 Change 79$100,148.95 -To- 54{Hrt}$21,771.89{Hrt}$950.00                               |
22:8 22:15 Insert {Hrt}                                                                          |
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22:14 23:2 Change 502 -To- 801                                                                   |
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39:9 40:10 Delete {Hrt}{Hrt}{Tab}                                                      |
Subdocuments:                                                                          |
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